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                        EXHIBIT 3
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

   IN RE FLINT WATER LITIGATION                Case No. 5:16-cv-10444-JEL-EAS
                                               Hon. Judith E. Levy



   __________________________________________________________________


                 DECLARATION OF DR. SIDDHARTHA ROY


        I, Siddhartha Roy, Ph.D., state and declare as follows:

   I. INTRODUCTION AND QUALIFICATIONS

     1. I am an environmental engineer. I earned my doctoral degree in Civil

        Engineering with an emphasis in Environmental Engineering from Virginia

        Polytechnic Institute and State University (Virginia Tech) College of

        Engineering in 2018. My PhD advisor at Virginia Tech was University

        Distinguished Professor and MacArthur “Genius” Fellowship awardee Dr.

        Marc Edwards. I received my Bachelor’s of Technology degree in Chemical

        Engineering from Nirma University’s Institute of Technology in 2010 and

        Masters in Environmental Engineering from Virginia Tech’s College of

        Engineering in 2015. I am an Engineer-in-Training (E.I.T.; License

        #0420072931) for Environmental Engineering as designated by the State of


                                           1
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        Virginia’s Board for Architects, Professional Engineers, Land Surveyors,

        Certified Interior Designers and Landscape Architects since 2020. At

        Virginia Tech, I was a Water INTERface Interdisciplinary Graduate

        Education Fellowship (IGEP) recipient and earned a Graduate Certificate in

        Interdisciplinary Water and Health Science in 2014.

     2. After graduating with a PhD in February 2018, I was a Postdoctoral

        Research Associate during April 2018-September 2020 and Research

        Scientist during October 2020-October 2022 with mentor Dr. Marc Edwards

        at Virginia Tech. I co-founded the US Water Study research team at Virginia

        Tech (www.uswaterstudy.org).

     3. I am currently a Research Associate at the University of North Carolina

        (UNC) Water Institute, Gillings Schools of Global Public Health, UNC

        Chapel Hill.

     4. For my research on lead in drinking water and associated health impacts in

        Flint, Chicago and other US communities, I was awarded the STAT

        Wunderkind Award by STAT News/The Boston Globe, Young Global

        Leadership Award by the International Water Association, Water Is Life

        Award by the American Civil Liberties Union Michigan, and Graduate

        Student of the Year Award by Virginia Tech. I was named one of the Top

        New Faces of Civil Engineering Professionals by the American Society of
                                          2
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        Civil Engineers in 2019 and one of the top three finalists of the Early Career

        Award for Public Engagement with Science by the American Association

        for the Advancement of Science in 2020.

     5. A complete description of my educational background and research work

        experience is appended as Exhibit 1 to this declaration.

     6. Notably for my work on this case, I am the co-author of two peer-reviewed
        articles reporting the results of biosolids analysis of lead release into drinking
        water in Flint, Michigan before, during, and after the city’s use of the Flint
        River as its drinking water source:

           a. “Lead release to potable water during the Flint, Michigan water crisis
              as revealed by routine biosolids monitoring data,” co-authored with Dr.
              Min Tang and Prof. Marc Edwards and published in 2019 in the journal
              Water Research. A copy of the article (“Roy et al. 2019”), including
              published supplemental information, is attached as Exhibit 2.

           b. “Efficacy of corrosion control and pipe replacement in reducing
              citywide lead exposure during the Flint, MI water system recovery,”
              co-authored with Prof. Marc Edwards and published in 2020 in the
              journal Environmental Science: Water Research & Technology. A
              copy of article (“Roy and Edwards 2020”), including published
              supplemental information and a published addendum, is attached hereto
              as Exhibit 3.




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   II. SCOPE OF WORK

     7. I have been retained by the law firms of Campbell Conroy & O’Neil P.C. and

        Mayer Brown LLP on behalf of Veolia North America to offer opinions in

        relation to the Flint Water Cases consolidated before the Honorable Judith E.

        Levy of the Eastern District of Michigan.

     8. Specifically, the scope of my work is to offer opinions relating to my research

        on biosolids analysis of lead in drinking water in Flint, Michigan in the period

        2010-2019.

     9. My compensation for work on this litigation is $275, except for deposition

        and trial testimony, which is billed at $350 per hour.

     10.I have not testified previously in court or at deposition.

     11.My opinions offered here are based on my knowledge, education, training,

        and experience as a scientist and engineer. All opinions are offered to a

        reasonable degree of engineering and scientific certainty.

   III. OPINIONS

   A. The Scientific Peer Review Process

     12.Many scientific studies are published in journals after they pass through the

        “peer review” process. Peer review is “an evaluation process in which

        journal editors and other expert scholars critically assess the quality and
                                            4
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           scientific merit of the article and its research.” 1 Typically, after authors

           submit their manuscript to a high-quality journal, a handling editor evaluates

           the submission and sends it out to experts (typically, 2-3 scholars) for critical

           review or, more commonly, rejects it outright. Expert reviewers carefully

           read the article, including the study hypotheses, methods, data collection,

           statistical analyses, graphs and tables, interpretation of the evidence,

           limitations of the study, and any conflicts of interest. The reviewers write up

           detailed review reports and submit them to the editor with recommendations

            for the manuscript (e.g., “Accept as is”, “Major Revisions required”, “Minor

            Revisions required,” and “Reject”). I have also served as peer reviewer for

            16 journals and have recommended “Major Revisions required” and

            “Reject” for several manuscripts authored by other researchers.

       13.In a peer review, the journal editor takes all reviewer comments and their

            own assessment of the submitted article into consideration before making a

            decision. Manuscripts typically go through several rounds of revisions

            (usually, two rounds in my experience) and can get rejected even in later

            rounds, if authors cannot provide satisfactory responses to the reviewers,

            defend the quality of their scientific work, or make recommended changes to



   1
    National Institutes of Health, National Library of Medicine (undated), Peer-reviewed literature,
   https://www.nlm.nih.gov/nichsr/stats_tutorial/section3/mod6_peer.html

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             the manuscript. The entire peer review process can sometimes take over a

             year. While the peer review process is imperfect, it is still an extremely

             difficult hurdle to clear at medium to high quality journals, which have a

             high rejection rate.

         14.Two imperfect indicators of a peer reviewed article’s success are the “impact

             factor” of the journal it was published in and the number of times it has been

             referenced or “cited” by scholars in later peer reviewed articles.

         15.I have published 14 peer-reviewed journal publications, which have been

             collectively cited over 900 times.2 These articles have appeared in high-

             impact journals, including Water Research, International Journal of

             Hygiene and Environmental Health, Journal of Exposure Science and

             Environmental Epidemiology, Environmental Science: Water Research and

             Technology, and Environmental Science and Technology, among others and

             are listed in Exhibit 1.

         16.The key scientific findings discussed in this declaration are based on two

             peer-reviewed articles, Roy et al. 2019 and Roy and Edwards 2020, I

             published, alongside my co-authors Drs. Marc Edwards and Min Tang, in

             the journals Water Research (publisher: Elsevier) in May 2019 and in



   2
       Google Scholar. https://scholar.google.com/citations?user=AW-b9OwAAAAJ

                                                         6
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        Environmental Science: Water Research and Technology (publisher: UK

        Royal Society of Chemistry) in August 2020. Each article was handled by

        the respective journal’s editorial team and reviewed by at least two peer-

        reviewers. I have previously presented findings from these articles at the

        following scientific conferences: American Water Works Association

        Annual Conference and Exposition 2019 in Denver CO, American Water

        Works Association Water Quality and Technology Conference 2019 in

        Dallas TX, American College of Toxicology Annual Meeting 2019 in

        Phoenix AZ, American Water Works Association Virtual Summit on Water

        Quality and Infrastructure 2020 online, and American Chemical Society Fall

        2021 Annual Conference online.

     17.In supplement to our academic publications, my co-author Dr. Edwards and

        I also published a guest essay, attached as Exhibit 4, in Undark magazine

        (publisher: the KSJ Fellowship Program at MIT) in September 2020 sharing

        major findings from this research with the general public.

  B. Limitations of official water lead levels available during the Flint Water
     Crisis (FWC) period


     18.The City of Flint switched its water supply from Lake Huron water with

        orthophosphate via Detroit Water and Sewerage Authority (now, Great



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        Lakes Water Authority) to the local Flint River water without

        orthophosphate on April 25, 2014.

     19.The official water lead data collected under the Lead and Copper Rule

        (LCR) as implemented by the City of Flint and overseen by Michigan

        Department of Environmental Quality during April 2014-August 2015, the

        first 16 months of the crisis, were unreliable and biased low for the

        following reasons: a) the LCR water sampling protocol included a flushing

        step prior to the 6+ hour stagnation period prior to sample collection, b)

        usage of small-mouthed bottles for sample collection that discouraged

        opening of faucets at full flow to allow for scouring of any loose lead

        particulates and thereby minimize the likelihood of their capture when filling

        up the bottles, c) less than 50% of water samples were collected from Tier-1

        homes (i.e., those with confirmed lead service lines), and d) two high water

        lead samples were later dropped from the official 2015 LCR pool.

   C. Wastewater-based epidemiology to track water lead levels

     20.Wastewater-based epidemiology is a scientific field dedicated to monitoring

        chemicals or pathogens in wastewater to answer important water

        infrastructure or public health questions. Wastewater surveillance is being




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            increasingly conducted for pharmaceuticals and personal care products,3

            illicit drugs,4 antibiotic-resistance genes, 5 and pathogens like SARS-CoV-2

            during the COVID-19 pandemic.6

       21.Sewage sludge (or, biosolids) have been monitored at US wastewater plants

            for over 25 years under the U.S. Environmental Protection Agency’s Part

            503 Rule, including for heavy metals like lead, copper, zinc, cadmium, and

            nickel that are released due to corrosion of domestic plumbing and service

            lines.

       22.The following are the general advantages of biosolids monitoring as

            compared to monitoring via tap water samples, and specifically LCR

            monitoring: a) samples are measured at the wastewater treatment facility and

            completely independent of LCR monitoring, b) sampling protocol and

            analytical methods have remained consistent for decades and this data is

            available for many wastewater facilities since the 1990s, and c) in the

            absence of large industrial sources, metals, including lead, released from


   3
     Wang, J., Wang, S., 2016. Removal of pharmaceuticals and personal care products (PPCPs) from wastewater: a
   review. J. Environ. Manag. 182, 620e640.
   4
     van Nuijs, A.L., Castiglioni, S., Tarcomnicu, I., Postigo, C., de Alda, M.L., Neels, H., Zuccato, E., Barcelo, D. and
   Covaci, A., 2011. Illicit drug consumption estimations derived from wastewater analysis: a critical review. Science
   of the Total Environment, 409(19), pp.3564-3577.
   5
     Su, J.Q., An, X.L., Li, B., Chen, Q.L., Gillings, M.R., Chen, H., Zhang, T. and Zhu, Y.G., 2017. Metagenomics of urban
   sewage identifies an extensively shared antibiotic resistome in China. Microbiome, 5(1), pp.1-15.
   6
     Wurtzer, S., Waldman, P., Ferrier-Rembert, A., Frenois-Veyrat, G., Mouchel, J.M., Boni, M., Maday, Y., Marechal,
   V. and Moulin, L., 2021. Several forms of SARS-CoV-2 RNA can be detected in wastewaters: implication for
   wastewater-based epidemiology and risk assessment. Water Research, 198, p.117183.

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         domestic plumbing are major contributors to metals in biosolids, and d)

         majority of lead in wastewater (~87%±8%) is removed during treatment and

         concentrated in biosolids.

      23. This method can also overcome severe logistical and statistical limitations

         encountered in official LCR sampling: a) composite (24x7) and routine (e.g.,

         monthly) tracking of city-wide or population-level lead vs. “first draw”

         water samples collected from 50-100 homes every 6 months-3 years under

         LCR, b) monitoring at the wastewater plant vs. inside private homes, c) track

         system-level changes resulting from corrosion control treatment changes or

         pipe replacements.

      24. There are some possible limitations to the biosolids method, none of which

         were prominent in the case of Flint: a) the wastewater plant serves a

         geographical area substantially different from that served by the drinking

         water plant of interest, b) biosolids sample analyses and data collection

         methods were modified during a time period of interest, c) missing or

         infrequent data collection by the wastewater plant, d) combined sewer

         systems that transport both urban runoff (e.g., from rainfall or hydrant

         flushing) and domestic wastewater, and e) significant presence of lead and

         heavy metals in effluents discharged by industry.



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   D. Method and key findings from the Flint biosolids research

      25.We requested monthly biosolids lead and other metals data from Michigan

         Department of Environmental Quality/City of Flint’s Water Pollution

         Control Facility and childhood blood lead data from Hurley Medical Center

         (Dr. Mona Hanna-Attisha), both for the period 2011-19. We further utilized

         water lead data from five city-wide sampling rounds conducted using a

         three-bottle protocol by our Virginia Tech team and Flint residents in August

         2015 (n=268 Flint homes), March 2016 (n=186 Flint homes), July 2016

         (n=176 Flint homes), November 2016 (n=164 Flint homes), and August

         2017 (n=150 Flint homes).

      26.None of the previously outlined limitations for biosolids analyses were

         encountered in Flint during our study period (roughly, 2011-19) to any

         meaningful degree: a) the service areas for Flint’s water and wastewater

         plants substantially overlapped, b) the biosolids analyses and data collection

         methods remained unchanged, c) biosolids samples were analyzed each

         month and typically in the first six days, d) Flint’s stormwater was not

         discharged into sewers, and e) over 95% of wastewater in Flint was domestic

         in origin and the industrial sources still in operation had largely eliminated

         lead sources.



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       27.In our analyses, biosolids lead mass were strongly correlated with water lead

            levels (i.e., equally weighted 90th percentile values of first, second and third

            draw water lead concentrations) from the city-wide sampling rounds for the

            corresponding months. This correlation allowed us to estimate monthly

            water lead levels for the entire study period (2011-19).

       28.More than three quarters of the extra lead release to water captured in

            biosolids during the water crisis versus an identical 18-month period before

            the crisis, occurred during June-August of 2014.

       29.This trend was also observed for the percentage of young children (i.e.,

            below 6 years of age) with blood lead at or above the then-CDC “level of

            concern” 5 µg/dL metric, which was nearly twice as high during those three

            months of Summer 2014 vis-à-vis the remaining months of the crisis.

       30.Our analyses revealed a previously unknown spike in water lead levels in

            April-May 2011 that coincided with a spike in childhood elevated blood lead

            levels, which was attributed to “random variation” in a prior independent

            study on blood lead trends in Flint children by Flint pediatrician Dr. Hernan

            Gomez and colleagues. 7 Lead in biosolids and in children’s blood were




   7
     Gomez, H.F., Borgialli, D.A., Sharman, M., Shah, K.K., Scolpino, A.J., Oleske, J.M., Bogden, J.D., 2018. Blood lead
   levels of children in Flint, Michigan: 2006-2016. J. Pediatr. 197, 158e164

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         higher in mid-2011 when Flint was served by Lake Huron water than

         reported during the entire Flint Water Crisis.

      31.The biosolids data further indicated that lead levels have dropped to

         historical lows in 2018-19 after Flint’s switchback to Lake Huron water with

         orthophosphate (October 2015), more than tripling of the orthophosphate

         corrosion control dosage (December 2015), implementation of an extensive

         flushing program, replacement of brass faucets, and replacement of over

         80% of the City’s lead and galvanized iron service lines.

      32.Similar decreases in trends were observed for 2018-19 in childhood blood

         lead and 90th percentile water lead levels in official LCR and independent

         sampling in Flint.

      33.Biosolids lead data also successfully tracked the impact of lead pipe

         replacements and the effectiveness of more than tripling of orthophosphate

         dose for corrosion control. Specifically, the lead and copper, lead and zinc,

         and copper and zinc mass pairs in biosolids were strongly correlated before

         (2011-14), during (2014-15) and two years (2015-17) after the crisis

         indicating corrosion from lead pipes, lead-bearing and other plumbing.

         However, for 2018-19, only the copper and zinc correlation remained

         significant indicating a) the impact of replacing of over 80% of lead and

         galvanized iron pipes, and the effectiveness of enhanced orthophosphate
                                            13
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         corrosion control dosing and b) installation of copper pipes and brass (i.e.,

         containing copper and zinc) containing valves, faucets, and fixtures.

      34.When Flint achieves 100% lead service line elimination, our biosolids

         analyses indicate that a) domestic plumbing containing leaded brass and

         solder would become the dominant source of lead to water and biosolids, b)

         a net reduction of 72-84% in overall lead release would be achieved vis-à-

         vis levels in 2013 before the Flint River water switch underscoring the

         success of lead pipe replacements and enhanced corrosion control

         implementation in Flint.

         I declare that the foregoing statements are made to a reasonable degree of

   professional certainty, and that the foregoing statements are true and correct to the

   best of my knowledge and information.



   ___________________________
   Siddhartha Roy, Ph.D.                                      Dated: 02/02/2023
   Carrboro, North Carolina




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                                                                                    EXHIBIT 1
   Siddhartha Roy, Ph.D., EIT
   Environmental Engineer                                                          Email: sidroy@vt.edu
   Carrboro NC (United States)                                               Web: www.siddhartharoy.org

   Nationalities: India (Citizen by birth); USA (Permanent Resident: EB1-A “Extraordinary Ability”).

   ACADEMIC HISTORY AND CERTIFICATIONS

   Virginia Tech, College of Engineering – Blacksburg, VA
   2018 Ph.D. in Civil Engineering (program: Environmental Engineering)
          + Graduate Student of the Year
   2015 M.S. in Environmental Engineering
          + “Water INTERface” IGEP Fellow
   2014 Interdisciplinary Water and Health Sciences Graduate Certificate
   Nirma University, Institute of Technology – Ahmedabad, India
   2010 B.Tech. in Chemical Engineering
          + First Class with Distinction
   State of Virginia, Engineer in Training (EIT)
   2020 Environmental Engineering License #0420072931

   PROFESSIONAL APPOINTMENTS

   2022+ The Water Institute, University of North Carolina, Chapel Hill, NC
   Research Associate (Oct 2022-present)

   2012-22 Virginia Tech Department of Civil and Environmental Engineering, Blacksburg, VA
   Research Scientist (Oct 2020-Oct 2022)
   Postdoctoral Research Associate, US Water Study Team founding co-leader (2018-20)
   Graduate Research and Teaching Assistant, Laboratory of Dr. Marc Edwards (2012-18)

   2010-12 Cognizant Technology Solutions, Merck Europe Support Project, Pune, India
   Programmer Analyst (Business Intelligence and Data Analytics), Innovation Lead


   HONORS AND AWARDS

   2016-22
      STAT Wunderkind 2021, STAT News/The Boston Globe
      IWA Young Leadership Award 2020-22, International Water Association (IWA)
      ASCE New Face of Civil Engineering Professionals, American Society of Civil Engineers (ASCE)
      AAAS Early Career Award for Public Engagement with Science / Finalist, American Association for the
       Advancement of Science (AAAS)
      WEF Water Leadership Institute Class of 2018, Water Environment Federation (WEF)
      Paper on perverse incentives in academia placed in Top 1% of Engineering (cited 300+ times)
      Scientist Sentinel: Civic Engagement & Leadership Program (competitive; declined), COMPASS
      Who’s Who in America list
      Rising Stars of the Water Industry, WQP Magazine
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   Roy                                                                                                    Jan 2023

      Graduate Student of the Year, Virginia Tech
      Virginia AWWA Graduate Student Scholarship, VA American Water Works Association
      Ut Prosim Scholar, Virginia Tech
      Graduate Student Service Excellence Award, Virginia Tech
      National Video Competition Second Prize, Association of Environmental Engineering and Science
       Professors (AEESP) for the documentary: https://youtu.be/t0ZNYHB7TvE

   20013-15
      Water Is Life Award, American Civil Liberties Union (ACLU) - Michigan
       For “your courage to shine a light on the Flint water crisis protecting the health of countless residents”
      Third Prize (National), Fresh Ideas Poster Competition w/ K Phetxumphou at AWWA ACE 2015
      Citizen Scholar Award, Virginia Tech
      Class of 2014: Outstanding Winter Graduate, Virginia Tech
      Engineers Without Borders-USA Global Leadership Program Scholarship, Black and Veatch Fdn
      Interdisciplinary Graduate Education Program (IGEP) Fellowship 2014-15, Virginia Tech
      Student Business Concept Challenge Finalist, Virginia Tech Knowledge Works

   Flint Water Study Team Awards (2015-18)

      Kellogg Foundation Community Engagement Scholarship Award, W. K. Kellogg Foundation
      UPCEA Engagement Award, University Professional and Continuing Education Association
      The Jean and Leslie Douglas Pearl Award, Cornell Douglas Foundation
      Special Recognition, Earth Day Network Climate Leadership Gala, Washington DC
      Alumni Award for Outreach Excellence, Virginia Tech (wrote the award proposal)
      Newsmaker of the Year, Virginia Professional Communicators
      Public Integrity Award, American Society for Public Administration
      Citizen Scholar Award, Virginia Tech (wrote the award proposal)
      Proclamation (Commendation), City of West Hollywood California
      Certificate of Appreciation, City of Flint Michigan, 2015

   TED TALK

   Science in service to the public good (over 1.4 million views; debuted on TED.com in 04/2017).


   SCHOLARLY PUBLICATIONS

   Peer-reviewed publications
   (#: peer-reviewed conference paper, ^: advised undergraduate student, *: corresponding author)
   Per Google Scholar: total citations = 976; h-index = 10

   1. Roy, S.* and M.A. Edwards. Addressing the Preprint Dilemma. International Journal of Hygiene
      and Environmental Health. doi: 10.1016/j.ijheh.2021.113896.
   2. Roy, S.* and M.A. Edwards. Are there excess fetal deaths attributable to waterborne lead
      exposure during the Flint Water Crisis? Evidence from Bio-kinetic Model Predictions and Vital
      Records. Journal of Exposure Science and Environmental Epidemiology. doi: 10.1038/s41370-
      021-00363-z
   3. Roy, S.*, K. Mosteller, M. Mosteller, K. Webber, V. Webber, S. Webber, L. Reid, L. Walters, and
      M.A. Edwards. 2021. Citizen science chlorine surveillance during the Flint, Michigan federal
      water emergency. Water Research. doi: 10.1016/j.watres.2021.117304.




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   Roy                                                                                      Jan 2023

   4.   #
         Lightner, T.*, S. Roy, M.A. Edwards and J. London. 2021. Centering the public: A narrative
       analysis of engineering graduate students’ journeys navigating public-inspired science work.
       ASEE Annual Conference and Exposition 2021, Jul 25-28, 2021.
   5. Roy, S.* and M.A. Edwards. 2020. Efficacy of Corrosion Control and Pipe Replacement in
       Reducing Citywide Lead Exposure during the Flint, Michigan Water System Recovery.
       Environmental Science: Water Research & Technology. doi: 10.1039/d0ew00583e
   6. Roy, S.*, M. Tang, and M.A. Edwards. 2019. Lead Release to Potable Water during the Flint,
       Michigan Water Crisis as revealed by Routine Biosolids Monitoring Data. Water Research. doi:
       10.1016/j.watres.2019.05.091
   7. Roy, S.* and M.A. Edwards. Citizen Science During the Flint, Michigan Federal Water
       Emergency: Ethical Dilemmas and Lessons Learned. Citizen Science: Theory and Practice.
       doi:10.5334/cstp.154
   8. Roy, S.* and M.A. Edwards. Preventing another Lead (Pb) in Drinking Water Crisis: Lessons
       from Washington DC and Flint MI contamination events. Current Opinion in Environmental
       Science & Health. doi:10.1016/j.coesh.2018.10.002
   9. Roy, S.*, P. Smith^, G. House^, and M.A. Edwards. 2018. Cavitation and Erosion Corrosion
       Resistance of Nonleaded Alloys in Chlorinated Potable Water. CORROSION. doi:10.5006/2939
   10. Roy, S.* and M.A. Edwards. 2018. Interactive Effects of Water Chemistry, Hydrodynamics, and
       Precipitated Calcium Carbonate Causing Erosion Corrosion of Copper in Hot Water
       Recirculation Systems: Case Study and Experimental Work. CORROSION. doi:10.5006/2937
   11. Pieper, K.J., M. Tang, R. Martin, L. Walters, J. Parks, S. Roy, C. Devine, and M.A. Edwards*.
       2018. Evaluating Water Lead Levels during the Flint Water Crisis. Environmental Science &
       Technology. doi:10.1021/acs.est.8b00791
   12. Roy, S.*, J.M. Coyne, J.A. Novak, and M.A. Edwards. 2017. Flow-induced failure mechanisms of
       copper pipe in potable water systems. Corrosion Reviews. doi:10.1515/corrrev-2017-0120
   13. Edwards, M.A.* and S. Roy. 2016. Academic Research in the 21st Century: Maintaining
       Scientific Integrity in a Climate of Perverse Incentives and Hyper-competition. Environmental
       Engineering Science. doi:10.1089/ees.2016.0223.
       > Top 1% cited paper in Engineering academe; ‘Most Read’ paper in journal’s history; 250,000+
       downloads; Trended #1 on Reddit Science; Featured in Science News & Chemistry World
   14. Roy, S.* and M.A. Edwards. 2016. Effects of Calcium Carbonate precipitation on erosion
       #

       corrosion of non-leaded brass fittings in potable hot water systems. Proc. NACE CORROSION
       2016, Mar 6-10, 2016, Vancouver, Canada.
   15. Phetxumphou, K., S. Roy, B.M. Davy, P.A. Estabrooks, W. You, and A.M. Dietrich*. 2016.
       Assessing clarity of message communication for mandated USEPA drinking water quality
       reports. Journal of Water and Health, doi:10.2166/wh.2015.134
   16. Roy, S.*, K. Phetxumphou, A.M. Dietrich, P.A. Estabrooks, W. You, and B.M. Davy. 2015. An
       Evaluation of the Readability of Drinking Water Quality Reports: A National Assessment. Journal
       of Water and Health, doi:10.2166/wh.2015.194
   17. # Lambrinidou, Y.*, W.J. Rhoads, S. Roy, E. Heaney, G. Ratajczak, and J. Ratajczak. 2014.
       Ethnography in Engineering Ethics Education: A Pedagogy for Transformative Listening. ASEE
       Annual Conference and Exposition, Jun 15-18 2014, Indianapolis, IN.


   Peer-reviewed conference presentations (* implies invited; ** implies conference poster; “peer-
   reviewed” = abstract reviewed before acceptance)

   1. ** Roy, S., K. Mosteller, M. Mosteller, K. Webber, V. Webber, S. Webber, L. Reid, L. Walters,
      and M.A. Edwards. Citizen science chlorine surveillance during the Flint, Michigan federal water
      emergency. IWA Disinfection + DBPs, Jun 27-Jul 1, 2022, Milan, Italy.



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   Roy                                                                                      Jan 2023

   2. Roy, S. and M.A. Edwards. NSF Fellows’ attitudes on the research climate in STEM academia.
       AEESP Conference 2022, Jun 28-30, 2022, St. Louis, MO.
   3. ** Roy, S. and M.A. Edwards. Exposing Infrastructure Inequality and Environmental Injustice
       through a Citizen Science-supported Graduate Training Program: The US Water Study
       Experience. C*Sci 2022, May 23-26, 2022, Virtual.
   4. Roy, S., K. Mosteller, M. Mosteller, K. Webber, V. Webber, S. Webber, L. Reid, L. Walters, and
       M.A. Edwards. Citizen science chlorine surveillance during the Flint, Michigan federal water
       emergency. AWWA WQTC 2021, Nov 7-10, 2021, Tacoma WA.
   5. Wait, K., S. Roy, and M.A. Edwards. Can Iron and Manganese Deposits on Copper and
       Stainless-Steel Plumbing Produce Rapid Pipe Failures at Water Temperatures >60°C? AWWA
       WQTC 2021, Nov 7-10, 2021, Tacoma WA.
   6. ** Edwards, M.A. and S. Roy. A “Public Inspired Science” Graduate Training Program. US
       National Academy of Engineering Promising Practices, 2021.
   7. Roy, S. and M.A. Edwards. Are there excess fetal deaths attributable to waterborne lead
       exposure during the Flint Water Crisis? Evidence from Bio-kinetic Model Predictions and Vital
       Records. American Chemical Society (ACS) Fall 2021, Aug 22-26, 2021, Atlanta GA.
   8. ** Odimayomi, T., S. Roy, and M.A. Edwards. Tracking Lead (Pb) Release to Potable Water
       through Biosolids Data in Six Cities across North America: Challenges and Opportunities.
       AWWA ACE 2021, Jun 14-17, 2021.
   9. Roy, S., M. Tang, and M.A. Edwards. Documenting Continued Reductions in Lead Release to
       Potable Water in the Aftermath of the Flint, MI Water Crisis. AWWA Virtual Summit on Water
       Quality and Infrastructure, Dec 8-10, 2020.
   10. Edwards, M.A., J. Purchase, K.G. Lopez, and S. Roy. Engineering Ethics and Citizen Science in
       Underserved Communities: Experiences of The US Water Study Team. AEESP Converging
       COVID-19, environment, health, and equity conference, Oct 16-Nov 20, 2020.
   11. Roy, S., Pieper, K.J., Battle, C., Lopez, K.G., and M.A. Edwards. Citizen science monitoring for
       India’s water sector: Tools and protocols from the US experience. AWWA India Annual
       Conference, Dec 13-14, 2019, Mumbai, India.
   12. Roy, S., M. Tang, and M.A. Edwards. Lead (Pb) in water, childhood lead exposure, and adverse
       pregnancy outcomes during the Flint Water Crisis: Quantifying the “unknown”. American College
       of Toxicology Annual Meeting, Nov 17-19, 2019, Phoenix, AZ.
   13. Roy, S., M. Tang, and M.A. Edwards. Lead (Pb) Exposure and Associated Adverse Health
       Outcomes During the Flint, Mich. Water Crisis: Quantifying the “Unknown.” AWWA WQTC, Nov
       3-7, 2019, Dallas, TX.
   14. Roy, S. and M.A. Edwards. The Promises and Perils of Citizen Science and Community
       Engagement witnessed in the Flint Water Crisis. International Society of Environmental
       Epidemiology, Aug 25-28, 2019, Utrecht, the Netherlands.
   15. Roy, S. and M.A. Edwards. Anatomy of Public Health Crises: Flint MI and Washington D.C. Lead
       in Water Emergencies. International Society of Environmental Epidemiology, Aug 25-28, 2019,
       Utrecht, the Netherlands.
   16. Roy, S., M. Tang, and M.A. Edwards. Lead Release to Potable Water during the Flint, Michigan
       Water Crisis as revealed by Routine Biosolids Monitoring Data. AWWA ACE, Jun 9-12, 2019,
       Denver, CO.
   17. * Roy, S. Citizen science to monitor water quality in underserved communities and emergencies:
       Tools and protocols from the US experience. U.S.-Jordan Conference on Development and
       Policy Responses to the Syrian Refugee Crisis, Jun 4-7, 2019, Blacksburg, VA.




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   Roy                                                                                     Jan 2023

   18. Roy, S. and M.A. Edwards. Citizen Science During the Flint, Michigan Federal Water
       Emergency: Ethical Dilemmas and Lessons Learned. AEESP Conference, May 14-16, 2019,
       Tempe, AZ.
   19. Roy, S. and M.A. Edwards. A Case Study of Postmodern Science Anarchy and Ethics: The Flint,
       MI Federal Emergency. Forum on Philosophy, Engineering and Technology 2018, May 30-Jun 1,
       2018, College Park, MD.
   20. Roy, S. and M.A. Edwards. WRF 4658: Cavitation and Erosion Corrosion Resistance of
       Nonleaded Alloys in Chlorinated Potable Water. AWWA WQTC, Nov 12-16, 2017, Portland, OR.
   21. Roy, S. and M.A. Edwards. Cavitation and Erosion Corrosion Resistance of Nonleaded Alloys in
       Chlorinated Potable Water. AWWA ACE, Jun 11-14, 2017, Philadelphia, PA.
   22. * Roy, S. and M.A. Edwards. Science for the Public Good vs. Perverse Incentives in Academia.
       AAAS Annual Meeting, Feb 16-20, 2017, Boston, MA.
   23. * Roy, S. and M.A. Edwards. The Flint Water Crisis: Responding to a Public Health Emergency.
       E.U. SAFEWATER Conference, Nov 23-24, 2016, Zurich, Switzerland.
   24. Roy, S. and M.A. Edwards. Revisiting the public health tragedy in Flint and why we are ill-
       equipped to prevent another. APHA Annual Meeting and Expo, Oct 29-Nov 2, 2016, Denver CO.
   25. Pieper, K.J., A. Katner, S. Roy, and M.A. Edwards. Lead in Water Equation: Understanding
       variables that influence lead in drinking water. UNC W&H, Oct 10-14, 2016, Chapel Hill, NC.
   26. Roy, S. and M.A. Edwards. The Flint MI Water Crisis: Lessons in Communicating Science and
       Influencing Public Discourse with Research. AWWA ACE, Jun 19-22, 2016, Chicago, IL.
   27. * Roy, S., K. Phetxumphou, A.M. Dietrich, P.A. Estabrooks, W. You, and B.M. Davy.
       Communicating Water Quality: Available tools for evaluation. UNC Water and Health
       Conference, Oct 26-30, 2015, Chapel Hill, NC.
   28. Roy, S. and M.A. Edwards. Role of water hardness precipitation and flashing cavitation in
       erosion corrosion of copper in potable water systems. AWWA ACE Jun 7-10 2015, Anaheim CA.
   29. ** Phetxumphou, K.,^ S. Roy^, B.M. Davy, P.A. Estabrooks, W. You, and A.M. Dietrich.
       Evaluating readability and clarity of USEPA mandated Drinking Water Quality Reports: A
       National Assessment. AWWA ACE, Jun 7-10, 2015, Anaheim, CA. ^equal contribution
   30. Roy, S. Revitalizing Ethics Training of STEM Graduates: The Tonawanda NY Experience.
       DuPont Summit on Science, Technology & Environmental Policy, Dec 5 2014, Washington, DC.
   31. Roy, S. and M.A. Edwards. Erosion Corrosion of Copper as a function of temperature, flow rates
       and water hardness. AWWA ACE, Jun 8-12, 2014, Boston, MA.

   Technical Reports

   1. Purchase, J.M., S. Roy, A. Katner, K.J. Pieper and M.A. Edwards. 2022. Practical Applications of
      NSF/ANSI 53 Lead Certified Filters: Investigating Lead Removal, Clogging and Consumer
      Experience. Final Report prepared for U.S. Housing and Urban Development.
   2. Roy, S., P. Smith, G. House, and M.A. Edwards. 2018. Corrosion of Nonleaded Pump Impeller
      Alloys in Chlorinated Potable Water. Water Research Foundation (WRF) Project 4658 Final
      Report. WRF. Denver, CO.
   3. Roy, S., G. House, and M.A. Edwards. 2018. Comparative Resistance of Six Copper Alloys to
      Erosion Corrosion in Simulated Potable Water. Final Report prepared for Chase Brass.
   4. Roy, S. and M.A. Edwards. 2016. Hard CaCO3 Particles Formed by Water Heating Exacerbate
      Copper Erosion Corrosion. Final Report prepared for Copper Development Association.




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   Roy                                                                                       Jan 2023

   Editorials and columns in popular press (not peer-reviewed)

   1. Edwards, M., A. Pruden, S. Roy, K. Faust, S. Masten. After we tried to correct claims about
       ‘deadly’ water filters in Flint, we were accused of scientific misconduct—and that was just the
       beginning. Retraction Watch. May 2022
   2. Edwards, M., C. Yang, and S. Roy. Who dares to speak up? An interview with Tuskegee
       whistleblower Peter Buxtun. American Scientist. Jul-Aug 2021
   3. Roy, S. What can we learn from misinformation on scientific matters in the water space?
       International Water Association. November 2020
   4. Roy, S. and M. Edwards. From Sewage Sludge, a New Perspective on the Flint Water Crisis.
       Undark. September 2020 (syndicated: Mother Jones)
   5. Roy, S. and M. Edwards. Flint water crisis shows the danger of a scientific dark age. CNN.
       March 2019
   6. Roy, S. and M. Edwards. Intègres comme des coureurs du Tour de France. Books. March-April
       2018
   7. Roy, S. and M. Edwards. Science is a public good in peril – here’s how to fix it. Aeon. Nov. 2017
   8. Phetxumphou, K., S. Roy B.M. Davy, P.A. Estabrooks, W. You, and A.M. Dietrich. Write
       Consumer Confidence Reports Customers Can Understand. OpFlow. February 2017
   9. Roy, S. The Hand-in-Hand Spread of Mistrust and Misinformation in Flint. American Scientist.
       January-February 2017
   10. Rhoads, W.J., R. Martin and S. Roy. We helped uncover a public health crisis in Flint, but
       learned there are costs to doing good science. The Conversation (syndicated: PBS, Scientific
       American, Huffington Post). January 2016


   PUBLIC SCHOLARSHIP AND SELECTED PRESS

   Science Documentaries, Podcasts and Websites

   1. Executive Producer. The Public-inspired Science Podcast. Two seasons on Apple iTunes.
   2. Executive Producer and Videographer. The U.S. Water Study documentary series. YouTube.
   3. Producer and Narrator. Flint Water Study – An ode to environmental engineers. Award-winning
      science documentary: https://youtu.be/t0ZNYHB7TvE
   4. Creator and curator. USWaterStudy.org
   5. Creator and curator. FlintWaterStudy.org (over 1 million views) and social media (Facebook and
      Twitter).
          My Twitter (@flintwaterstudy) engagement was the subject of a peer-reviewed journal article
          by science communication researchers (doi: 10.1177/1075547017751948).
   6. Producer and Videographer. Public Inspired Science. US Water Study:
      https://youtu.be/hnbXQ4Z0evo
   7. Script and Video-segment producer. MacArthur Foundation 100&Change grant proposal video
      abstract “Science as a public good”: https://youtu.be/j8Y2Q7WPLOE
   8. Producer and Videographer. Water sampling videos for Flint, Michigan
      (https://youtu.be/dEQDaPws2xk), California schools (https://youtu.be/pxg9X9NMy4g) and
      Virginia schools (https://youtu.be/dcmgP4VEx50).




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   Roy                                                                                         Jan 2023

   Invited Keynote Lectures, Talks, and Expert Panels

   1. AIChE (Webinar), 2016.                            26. Science Museum of VA (Richmond), 2017,
   2. AIHA/ASSE Conference (Denver, CO), 2017.              2019.
   3. Boston University (Boston, MA), 2022.             27. Science Writers Conf. (San Antonio, TX), 2016.
   4. Cal Poly (San Luis Obispo, CA), 2022.             28. Slovenian Academy of Sciences and Arts
   5. Chandler-Gilbert CC (Chandler, AZ), 2018.             (Ljubljana, Slovenia), 2019.
   6. Chapman University (Orange, CA), 2021             29. Stanford University (Stanford, CA), 2021.
   7. George Walton Academy (Monroe, GA), 2020.         30. St. Lawrence Univ. (Canton, NY), 2022.
   8. Georgetown University (Washington DC), 2022.      31. TCA Hollywood Press (Pasadena, CA), 2017.
   9. ComSciCon 2016 (Cambridge, MA), 2016.             32. Tufts University (Medford, MA), 2018.
   10. Kids’ Tech University (Blacksburg, VA), 2018.    33. University of Arizona (Tucson, AZ), 2022.
   11. IWA Emerging Water Leaders Forum, 2021.          34. University at Buffalo (Buffalo, NY), 2020.
   12. Interpublic Group (virtual), 2022.               35. UCLA (Virtual), 2022.
   13. Linda Hall Library of Science Engineering, and   36. University of Florida (Gainesville, FL), 2022.
       Technology (Kansas City, MO), 2020.              37. University of Houston (Houston, TX), 2021.
   14. Louisiana State Univ. (Baton Rouge, LA), 2020.   38. Univ. of Maryland (College Park, MD), 2017.
   15. MIT (Cambridge, MA), 2018.                       39. UMass Amherst (Amherst, MA), 2020.
   16. Middlebury College (Middlebury, VT), 2018.       40. Univ. of Notre Dame (South Bend, IN), 2017.
   17. NJ Institute of Technology (Newark, NJ), 2021.   41. University of Virginia (Virtual), 2022.
   18. Northwestern University (Evanston, IL), 2016.    42. Univ. of Wisconsin Madison (Virtual), 2022.
   19. Ohio AWWA (Columbus, OH), 2015.                  43. Virginia AWWA/VWEA WaterJAM 2016
   20. Phillips Exeter Academy (Exeter, NH), 2016.          Keynote (Virginia Beach, VA), 2016.
   21. Princeton University (Princeton, NJ), 2018.      44. VA Historical Society (Richmond, VA), 2017.
   22. Purdue University (West Lafayette, IN), 2021.    45. Wesleyan University (Middletown, CT), 2018.
   23. Queen’s University (Canada; Virtual), 2022.      46. W. Mich. University (Kalamazoo, MI), 2016.
   24. Rising Silo Brewery (Blacksburg, VA), 2018.      47. WGBH Idea Lab (Cambridge, MA), 2016.
   25. Rutgers University (New Brunswick, NJ), 2022.    48. World Health Organization (Geneva,
                                                            Switzerland), 2017.

   Media Coverage (Science Documentaries and Movies)

   1. PBS NOVA. ‘Poisoned Water’, 2017 (on                3. Virginia Tech. ‘Cicero’, 2019
      Netflix; winner of AAAS Kavli Science               4. Discovery (UK)/National Geographic (US).
      Journalism award).                                     Disasters Engineered. Season 02. Ep. 08.
   2. BBC. FLINT, 2020.                                      Contaminated Waters. 2020-21.

   Media Coverage (Newspapers and Magazines)
   Selected listing in alphabetical order.
   1. ABC News: Flint Water Crisis: How a Water         5. ATTN: Flint, Michigan Has Been Charging Its
      Study Researcher Would Address the Damage            Residents for Toxic Water (Jan 19, 2016)
      (Jan 19, 2016)                                    6. ATTN: The Water in Flint Is Better, but People
   2. American Scientist: Moving Forward After Flint       Aren't Using It (Oct 21, 2016)
      (May-June 2016 issue)                             7. Bloomberg BNA: Flint, Mich., Didn’t Follow
   3. Associated Press: Flint lead problem could be        Drinking Water Controls (Oct 20, 2015)
      eased by recoating old pipes (Jan 22, 2016)       8. Burlington Free Press: Vermont schools have
   4. ASCE News: Young Engineer Finds His Calling          lead in their water supply. How concerned
      Through Flint Water Crisis Solutions (Feb            should you be? (Jan 27, 2020)
      2019)




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   Roy                                                                                              Jan 2023

   9. CEP Magazine (AIChE’s flagship journal;              24. SciDev: India, MENA region face severe water
       profile feature): Pursuing Science for the Public       crisis (Aug 15, 2019)
       Good (December 2016 issue)                          25. Scientific American: Water Wand (Jun 2020)
   10. Chicago Tribune (front page): Flint researchers     26. STAT News: Lessons from a Flint water crisis
       find alarming levels of lead in Cicero, Berwyn          researcher about building trust in science
       tap water, suggesting thousands of older                during the pandemic (Nov 18, 2021)
       homes at risk (Aug 10, 2018)                        27. St. Louis Post-Dispatch: Districts move to test
   11. Christian Science Monitor: How to fix Flint's           water for lead after elevated levels found in
       lead pipe problem (Jan 23, 2016)                        some St. Louis schools (Aug 25, 2016)
   12. Chronicle of Higher Education: The Accidental       28. The American Prospect: Beyond Flint: How
       Ethicist (Oct 2, 2016)                                  Local Governments Ignore Federal Water
   13. Engineer’s Forum: PUZZLING PIPES: Civil                 Standards (Feb 24, 2016)
       engineers plumb corrosion mystery (September        29. The Dallas Morning News: Disabled Texans in
       2015 issue)                                             three state homes have been drinking water
   14. Five Thirty-Eight: What Went Wrong In Flint             with Flint-level amounts of lead (May 13, 2016)
       (Jan 26, 2016)                                      30. Flint Journal: Meet the key figures in NOVA's
   15. Grist: Shift Happens, one PB&J at a time (Dec           'Poisoned Water' feature on Flint (May 2017)
       3, 2016)                                            31. Flint Journal: Researchers say sewage data
   16. Healthline: How toxic is the water in Flint (Jan        holds clues to Flint water crisis (May 30, 2019)
       25, 2016)                                           32. The Guardian: A hidden scandal: America's
   17. Jacobin: Capitalism Is Ruining Science (July            school students exposed to water tainted by
       2018 issue)                                             toxic lead (Mar 6, 2019)
   18. Michigan Radio: Team testing Flint water for        33. The New York Times (centerspread): As Flint
       lead sample by sample (Sep 6, 2015)                     Fought to Be Heard, Virginia Tech Team
   19. Michigan Radio: New study questions some of             Sounded Alarm (Feb 6, 2016)
       the citizen science projects during Flint's water   34. The Roanoke Times: Virginia Tech researchers
       crisis (Mar 8, 2019)                                    fought for Flint in water crisis (Jan 23, 2016)
   20. My Suburban Life: Testing by local                  35. Virginia Tech Magazine: Fighting for Flint: A
       organization, Virginia Tech finds high lead             Virginia Tech team exposes lead poisoning
       levels in Berwyn, Cicero water (Aug 14, 2018)           (Spring 2016 issue)
   21. Notre Dame Science: Virginia Tech                   36. Virginia Tech Magazine: Tapping the Ripple
       researchers explain the Flint water crisis (Dec         Effect (Fall 2018 issue)
       8, 2016)                                            37. WIRED: Ripple Effect: The crisis in Flint isn’t
   22. National Science Foundation: Flint water crisis:        over. It’s everywhere. (Jun 2016 issue)
       For young engineers, a lesson on the                38. WIRED: The Flint Water Crisis Is Bigger Than
       importance of listening (Mar 23, 2016)                  Elon Musk (Jul 12, 2018)
   23. Pittsburgh Tribune-Review.

   Media Coverage: Television

   1. FOX17: Virginia Tech scientist talks ‘Flint water    4. TRT World: Has Flint's water crisis been
      crisis’ with WMU students, staff (Feb 10, 2016)         solved? (Apr 19, 2018)
   2. Sky News UK: Dirty Water Supplies 'Poisoning         5. WSLS10: Virginia Tech researchers announce
      Public Trust' (May 30, 2016)                            Flint water is safe (Sep 17, 2017)
   3. WDBJ7: Sunday morning TV panel (Jan 2016)




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   Roy                                                                                         Jan 2023

   Media Coverage: Podcasts and Radio

   1.   Mother Jones’ Inquiring Minds (2017)          10. KCRW’s To The Point: Lead in America's
   2.   Science Soapbox (2016)                            Water Systems (March 2016)
   3.   The Nature of Cities (2016)                   11. Minnesota Public Radio (NPR): This American
   4.   The Story Collider (2017)                         Moment: Restoring the public's faith in science
   5.   International Water Association (2021)            and expertise (November 2018)
   6.   International Water Association (2020)        12. WMUK (NPR): WSW: Flint's Lesson About
   7.   Vanguard STEM. (2016)                             Science And Ethics (February 2016)
   8.   BBC World Service (2016)                      13. WUFT (NPR): What Led The Alachua County
   9.   Iowa Public Radio (NPR): Iowa's Drinking          School District To Install Water Filters To
        Water: Could Flint Happen Here? (June 2016)       Prevent Lead Contamination (October 2018)


   RESEARCH CONTRACTS AND GRANTS ($5,000 and over)

   1. Spring Point Partners, LLC ($3,000,000). Exposing Infrastructure Inequality in America:
      Leveraging Success and Building Capacity (2017-present). Co-Investigator.
   2. ACX ($25,000). Citizen science sampling for waterborne opportunistic pathogens including
      Legionella (2022-on). Lead Investigator and Primary Author.
   3. Water Research Foundation ($60,000). 4658: Corrosion of Nonleaded Pump Impeller Alloys in
      Chlorinated Potable Water (2016-18). Lead Investigator and Primary Author.
   4. Chase Brass ($16,200). Technical Assistance Program: Erosion Corrosion in Nonleaded Alloys
      (2016-17). Lead Investigator and Primary Author.
   5. Union of Concerned Scientists and EPA College/Underserved Community Partnership Program.
      ($10,000). Lead in Water Pilot Project for public schools near Georgia College, Tuskegee
      University and UNC Wilmington (2016-17). Primary Coordinator.
   6. Flint Water Study Crowdfunding ($100,000+). GoFundMe to recover discretionary funds directed
      to Flint (2016). Co-written/co-led with Dr. Marc Edwards.
   7. [Development/Service] Engineers Without Borders ($26,450). Guatemala Boarding School
      Sanitation Project. Primary Author. Funds from Boeing, Pratt & Whitney and Bechtel (2013-15).

   PROFESSIONAL SERVICE
   Referee for peer-reviewed journals and conference proceedings
   American Journal of Public Health                     ES: Water Research & Technology
   Citizen Science: Theory and Practice                  IWA World Water Congress 2022, Denmark
   CORROSION                                             International J. of Hygiene and Env. Health
   Corrosion Reviews                                     Forensic Sciences Research
   Environmental Engineering Science                     Journal of Water and Health
   Environmental Justice                                 Proceedings of the National Academy of Sciences
   Environmental Science and Technology                  Water Research
   Environmental Science and Technology Letters          WIRES: Water
   ES&T Water                                            Utilities Policy


   Federal Advisory Boards
   US Environmental Protection Agency, Board of Scientific Counsellors - Social and Community
   Science federal advisory committee, 2022-onward


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   Roy                                                                                          Jan 2023

   Journal Editorial Boards
   Invited to join: Frontiers in Environmental Health in 2022 (declined) and International Journal of
   Environmental Research and Public Health in 2020 (declined)

   Research Proposal/Award/Federal Recommendations Reviewer
   CDC National Institute for Occupational Safety and Health – Lead Pipe Replacement Advisory, 2022
   University of Wisconsin Water Resources Institute – Research Proposals, 2022
   National Science Foundation ENG/CBET Program – Research Proposals, 2021
   NC Water Resource Research Institute – Research Proposals, 2020
   AAAS Kavli Science Journalism Awards – Science Reporting: In Depth, 2020
   AAAS IF/THEN Ambassadors (100 women in STEM as role models for middle school girls), 2019
   Graduate Women in Science National Fellowship Program, 2019
   VT Graduate Research Development Program – student research proposals, 2013

   Expert Judge
   Virginia State Science and Engineering Fair, 2020
   Paul E. Torgersen Graduate Research Excellence Competition, Virginia Tech, 2019
   U.S. Stockholm Junior Water Prize, Blueridge Highlands Science Fair, Radford VA, 2018
   Young Professionals Poster Competition, AWWA Annual Conference, Denver CO, 2017

   Conferences and Workshops
    Conference Moderator (2x), UNC Water and Health Conference, Oct 24-28 2022, Chapel Hill NC
      Organizer and Moderator, “The Science and Politics of Journal Retractions” webinar, HxEES,
      May 25, 2022, Virtual
    Organizer and Moderator, “Fighting the coronavirus pandemic: Evidence-based approaches from
      Environmental Engineers” webinar, HxEES, Jul 29, 2020, Virtual
    Conference Session Chair, “Special Case Studies” at AWWA India Annual Conference and
      Exposition, Dec 13-14, 2019, Mumbai, India
    Conference Workshop Chair, “Water Quality and Citizen Science 101” teaching workshop at
      UNC Water and Health Conference 2019, Oct 11 2019, Chapel Hill NC
    Conference Moderator, “Disinfection Byproduct Health Impacts and Compliance Strategies” at
      AWWA WQTC 2019 in Dallas TX (Nov 3-7, 2019)
    Co-organizer, US-Jordan “Transformational Ideas to Improve Development and Policy Response
      to Forced Displacement” conference on the Syrian refugee crisis, Jun 4-7 2019, Blacksburg VA


   ORGANIZATIONAL MEMBERSHIPS

   Current: Association of Environmental Engineering and Science Professors (AEESP), Heterodox
   Academy (HxA), International Water Association (IWA), Society of Toxicology (SOT). Previously active:
   American Society of Civil Engineers (ASCE), American Water Works Association (AWWA), Engineers
   Without Borders USA (EWB-USA), National Association of Corrosion Engineers (NACE), Society of
   International Development–US (SID-US), Water Environment Federation (WEF).
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                                                                                                                                   EXHIBIT 2
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                                                                    Water Research 160 (2019) 475e483



                                                             Contents lists available at ScienceDirect


                                                                     Water Research
                                              journal homepage: www.elsevier.com/locate/watres




Lead release to potable water during the Flint, Michigan water crisis as
revealed by routine biosolids monitoring data
Siddhartha Roy*, Min Tang, Marc A. Edwards
Virginia Tech, Civil and Environmental Engineering, 418 Durham Hall, Blacksburg, VA, 24061, USA




a r t i c l e i n f o                                 a b s t r a c t

Article history:                                      Routine biosolids monitoring data provides an independent and comprehensive means to estimate water
Received 17 February 2019                             lead release pre-, during and post-Flint Water Crisis (FWC). The mass of potable plumbing-related metals
Received in revised form                              (i.e., lead, cadmium, copper, nickel and zinc) in sewage biosolids strongly correlated with one another
20 May 2019
                                                      during the FWC (p < 0.05). A simple parametric regression model based on 90th percentile potable water
Accepted 26 May 2019
                                                      lead measurements (WLL90) from ﬁve city-wide citizen science sampling efforts August 2015eAugust
Available online 27 May 2019
                                                      2017 was strongly correlated to corresponding monthly lead mass in biosolids [Biosolids-Pb (kg) ¼ 0.483
                                                      x WLL90 (mg/L) þ 1.79; R2 ¼ 0.86, p < 0.05]. Although total biosolids lead increased just 14% during the 18
Keywords:
Blood lead levels
                                                      months of the FWC versus the comparable time pre-FWC, 76% of that increase occurred in July
Biosolids                                             eSeptember 2014, and the corresponding percentage of Flint children under 6 years with elevated
Flint water crisis                                    blood lead  5 mg/dL (i.e., %EBL5) doubling from 3.45% to 6.61% in those same three months versus 2013
Lead corrosion                                        (p < 0.05). %EBL5 was not statistically higher during the remaining months of the FWC compared to pre-
Lead exposure                                         FWC or post-FWC. As expected, lead in biosolids during the FWC, when orthophosphate was not added,
                                                      was moderately correlated with water temperature (R2 ¼ 0.30, p < 0.05), but not at other times pre- and
                                                      post-FWC when orthophosphate was present. Tripling the orthophosphate dose post-FWC versus pre-
                                                      FWC and some lead pipe removal, decreased lead in biosolids (and %EBL5) to historic lows (2016
                                                      e2017 vs. 2012e2013; p < 0.05), supporting the effectiveness of these public health interventions in
                                                      reducing childhood water lead exposure.
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1. Introduction                                                                          of one Flint resident is relatively well understood (Pieper et al.,
                                                                                         2017), almost nothing is known about the magnitude and timing
   After a citizen science collaboration between Flint residents and                     of lead release throughout the rest of the city between April 2014
our Virginia Tech research team exposed citywide water lead                              and August 2015 – the ofﬁcial water lead data that was collected is
contamination in August 2015, there has been widespread concern                          considered nearly useless due to the fact compliance samples did
regarding consumer exposure to lead during the Flint Water Crisis                        not meet criteria under the National Primary Drinking Water
(FWC) (Bellinger, 2016; Edwards, 2015; Pieper et al., 2017, 2019; Roy                    Regulations and the federal Lead and Copper Rule (LCR). For
and Edwards, 2019a, 2019b). The FWC started April 25, 2014, when                         example, the requirement that at least 50% of compliance samples
Lake Huron water from Detroit with a 1 mg/L orthophosphate dose                          must be collected from homes with LSLs was not met (Pieper et al.,
for corrosion control was replaced with higher corrosivity Flint                         2018). The ofﬁcial sampling results were also biased low, by pre-
River water without orthophosphate. This change increased lead                           ﬂushing homes the evening before the six-hour stagnation time
release from lead service lines (LSLs), galvanized iron pipe (GIP),                      and use of small-mouthed bottles (Edwards, 2015; Grevatt, 2016;
leaded solder and brass (Del Toral, 2015; Edwards et al., 2018;                          Milman and Glenza, 2016; Del Toral, 2015). In contrast, starting
Masten et al., 2016; Pieper et al., 2017, 2018).                                         with Virginia Tech's standardized citywide sampling campaign in
   Although the trajectory of water lead levels (WLLs) in the home                       hundreds of Flint homes August 2015 onwards, there is relatively
                                                                                         good understanding of WLL trends because these sampling events
                                                                                         were repeated at the same homes using the same sampling pro-
  * Corresponding author. 418 Durham Hall, Virginia Tech, 1145 Perry Street,             tocol in March 2016, July 2016, November 2016 and August 2017
Blacksburg, VA, 24061, USA.                                                              (Pieper et al., 2018).
    E-mail address: sidroy@vt.edu (S. Roy).

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     The lack of data on water lead levels and associated un-                      when orthophosphate corrosion inhibitor was absent, but lower
certainties with human exposure from April 2014eAugust 2015                        and independent of temperature during time periods when
have led to angst, speculation, proxy research and controversy                     orthophosphate was present (Boulay and Edwards, 2000; Del
(Bouffard, 2018; Carmody, 2019; Clark and Filardo, 2018; Go        mez            Toral et al., 2013; Deshommes et al., 2013; Masters et al.,
and Dietrich, 2018; Haynes, 2019; Taylor et al., 2016; Roy, 2017).                 2016b; Lytle and Schock, 1996).
The use of routine childhood blood lead level (BLL) monitoring data             b) Lead in biosolids will correlate with other common metals
to indirectly assess the severity of the water lead exposure (e.g.,                characteristic of premise plumbing materials (cadmium, copper,
Hanna-Attisha et al., 2016; Kennedy, 2016; Zahran et al., 2017;                    zinc and nickel) that sloughed from pipe scale when corrosion
Go mez et al., 2018; Gomez et al., 2019), relies on a dataset of chil-           control was interrupted (Alam and Sadiq, 1989; AWWA, 2011;
dren mostly 1.5e6 years age, who are actually the group least likely               Comber and Gunn, 1996; Gonzalez et al., 2013; Lytle and Schock,
to reveal water lead impacts because this group is at greatest risk of             1996; Pieper et al., 2017).
exposure to lead paint and dust (Levin et al., 2008; Edwards et al.,            c) lead mass in biosolids would correlate with available datasets
2009; Triantafyllidou and Edwards, 2012; Hanna-Attisha et al.,                     collected for citywide lead in water, and possibly the incidence
2016). The pregnant women and formula-fed infants who are at                       of %EBL5 in Flint children during the anomalous time when lead
greatest risk of lead exposure from drinking water (i.e., >85% of lead             in water was a dominant source of childhood lead exposure
exposure for many infants fed reconstituted formula is typically                   (Table S1).
from water) do not have routine blood lead measurements for
analysis because it is assumed that federal corrosion control laws
would limit water lead exposures (Edwards et al., 2009; Edwards,                2. Experimental methods
2013; Triantafyllidou and Edwards, 2012; USEPA, 1988; USEPA,
1991).                                                                             Water temperature data, %EBL5 cases for children under six
     Despite the acknowledged weaknesses in the elevated blood                  years of age within the City of Flint, MI, and pre-existing data on
lead (EBL) data used in prior ecological assessments of the FWC and             metal concentrations in biosolids were used in this retrospective
some heated debate about their interpretation, there is good                    ecological study analyzed for three periods (Table S2): May
agreement about the overall trends (Go     mez et al., 2018; Hanna-            2011eApril 2014 (“pre-FWC”), May 2014eOctober 2015 (“during
Attisha, 2018a,b; Kennedy, 2016; Zahran et al., 2017). Speciﬁcally,             FWC”) and November 2015eNovember 2017 (“post-FWC”). The
the proportion of Flint children with elevated blood lead levels 5             term “post-FWC” for lead, reﬂects the fact that bottled water and
mg/dL (%EBL5) roughly doubled during the FWC (April                             ﬁlters were provided to all residents for health protection after
2014eOctober 2015), especially in the neighborhoods where Vir-                  November 2015, reducing the likelihood of consumer exposure
ginia Tech's water sampling revealed greatest lead in water risk                even as water lead remained elevated. This also coincided with a
(Go mez et al., 2018; Hanna-Attisha et al., 2016). However, there is           switchback to Lake Huron water and boosted orthophosphate
nonetheless ongoing dismay about “not knowing” trends in water                  dosing that began to reduce water and biosolids lead.
lead exposure that occurred during the 18 months of the FWC
(Banner, 2018; Go   mez et al., 2018; Gomez et al., 2019; Graham,             2.1. Water temperature
2016; Kruger et al., 2017; Oleske et al., 2016).
     To address these concerns, we explored the novel hypothesis                   Daily temperature data at the efﬂuent of the Flint water treat-
that routine monthly analysis of metal mass in biosolids (i.e.,                 ment plant was obtained from archived monthly Michigan
digested sewage sludge) at the Flint wastewater treatment plant                 Department of Environmental Quality water quality reports
represents a composite sample tracking the mass of metal release                2011e2017 (https://www.michigan.gov/ﬂintwater/).
from plumbing to the Flint water distribution system. Metals
(including lead) in municipal wastewater are often dominated by                 2.2. Trends in elevated blood lead (EBL)
release from potable water plumbing (Alam and Sadiq, 1989;
Boulay and Edwards, 2000; Comber and Gunn, 1996; Isaac and                          Deidentiﬁed summaries of BLL measurements for Flint children
Boothroyd, 1996; Hargreaves et al., 2018; Karvelas et al., 2003;                were provided by Hurley Medical Center's Dr. Mona Hanna-Attisha
Murphy and Pierides, 2004; NYCDEP, n.d.; Santos-Echeandía, 2009;                for May 2011eNovember 2017, and used to calculate percentage of
So€ rme and Lagerkvist, 2002; Toffey, 2016; Goodman, 1984; Isaac                children under six with elevated blood lead levels (%EBL5) using
et al., 1997) and a majority of Pb (87 ± 8%) in wastewater is typi-             conventions described elsewhere (Hanna-Attisha et al., 2016;
cally removed during treatment and concentrated in the biosolids                Hanna-Attisha, 2018a,b). To account as best we can, for a slight lag
(Goldstone et al., 1990; Goldstone and Lester, 1991). This general              between increased WLLs and elevations of lead in children's blood
idea was recently exploited in attempts to estimate water lead                  considering the blood lead half-life of 28e36 days (ATSDR, 2007;
levels in drinking water of ancient Rome (Delile et al., 2014, 2017).           Triantafyllidou and Edwards, 2012), correlations used %EBL5 data
Biosolids in wastewater began to be monitored in the U.S. starting              paired with biosolids lead from the same month (i.e., %EBL5 cases
in early 1980s and, therefore, this dataset is available for many               detected May 2016 are paired with biosolids data from May 2016).
municipal systems starting before the Lead and Copper Rule
monitoring began in 1991 (USEPA, 1991; WEF, 2011). In Flint less                2.3. Metals in biosolids
than 5% of the wastewater is derived from industry, which has
largely eliminated its lead sources (Case, 2018), further increasing               Monthly metal concentrations in biosolids (lead, cadmium,
the likelihood that the lead captured in Flint biosolids is mostly              copper, nickel and zinc; mg/kg on a dried weight basis) and total
derived from domestic plumbing release to potable water.                        monthly biosolids production (kg) were provided by MDEQ. A
     If the hypothesis is valid that lead release from potable water            composite sample of biosolids was collected from an efﬂuent
plumbing is a substantial source of lead in Flint biosolids, it would           digester pipe at the City of Flint wastewater plant (Case, 2018) early
also be expected that:                                                          each month from May 2011 to November 2017. Seventy seven
                                                                                percent of the biosolids samples were collected between the 1st
a) metal mass released from plumbing and captured in biosolids                  and 6th of each month. The metal concentrations were measured
   would be higher during the FWC (especially in warmer months)                 per Standard Method SW 6020A (APHA, AWWA and WEF, 1998).
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The monthly mass of metal in biosolids was estimated by multi-                percentile ﬁrst draw lead, per calculations of 6,162 ﬁrst and second
plying the metal biosolids concentration by the total biosolids               draw samples collected during summer 2003.
production.
   A one month offset was used between WLL90 data from Virginia               2.5. Statistical analyses
Tech's citywide sampling campaigns with metals in biosolids data,
to partly account for the two weeks (plant target ¼ 13e15 days) of               All statistical analyses were conducted in RStudio (version 3.3.2)
biosolids retention time (WEF, 2011; Case, 2018) in the plant                 and/or Microsoft® Excel® (version 2016). A p value of <0.05 with an
digester and another few days of activated sludge detention time.             alpha value (a) of 0.05 was selected to determine statistical sig-
For example, water samples collected from homes throughout the                niﬁcance. The Pearson's coefﬁcient correlation test was used to
month of August 2015 were paired with total lead mass in biosolids            examine the associations between monthly biosolids lead mass, %
early September 2015.                                                         EBL5 and other variables. Parametric linear regressions were per-
                                                                              formed between: a) composite WLL90 from all ﬁve Virginia Tech
2.4. Metals in water, including water lead levels (WLLs)                      sampling rounds (mg/L) and lead in biosolids (kg) in the corre-
                                                                              sponding month, b) MWLL90 from all ﬁve Virginia Tech sampling
    Five city-wide tap water sampling events using a three-bottle             rounds (mg/L) and lead in biosolids (kg) in the corresponding
ﬁrst, second and third draw protocol were executed in a citizen               month, and c) %EBL5 for 18 months of the FWC and lead in biosolids
science collaboration between Flint residents and our Virginia Tech           (kg) in the corresponding month. The runs test for randomness was
team in August 2015 (n ¼ 268), March 2016 (n ¼ 186), July 2016                conducted for lead in biosolids (kg) for 18 months of the FWC (NIST/
(n ¼ 176), November 2016 (n ¼ 164) and August 2017 (n ¼ 150) and              SEMATECH, 2012).
the results were published elsewhere (Pieper et al., 2018). All water
samples were acidiﬁed by adding 2% HNO3, digested for 16 þ hours              3. Results and discussion
to adequately dissolve and capture particulate lead and analyzed on
an Inductively Coupled Plasma Mass Spectrometry (ICP-MS) for 28               3.1. Temporal trends of plumbing-related metals in biosolids
elements including lead, cadmium, copper, nickel and zinc (all mg/L)
per Standard Method 3125 B (APHA, AWWA and WEF, 1998). For                        Levels of premise plumbing related metals (cadmium, copper,
data quality assurance and quality control, blanks and spikes of              lead, nickel and zinc) in Flint's monthly biosolids were correlated
known concentrations were measured on the ICP-MS after every                  before, during and post-FWC (Figs. 1 and S1). All ﬁve metals spiked
10e15 samples.                                                                markedly in the summer of 2014 when there was no corrosion
    Sequential samples of lead, copper and zinc in water of 23 Flint          control during the FWC, and it is hypothetically possible this was
homes that participated in all ﬁve USEPA sequential sampling                  due to general sloughing of pre-existing scale from all plumbing
rounds (JanuaryeMarch, May, July, September, and November                     surfaces (Masten et al., 2016; Olson et al., 2017; Pieper et al., 2017,
2016) during the 2016 federal emergency response were obtained                2018). The mass of all ﬁve plumbing-related metals in biosolids
from the USEPA's website (USEPA, 2017; Lytle et al. 2019).                    were strongly correlated (p < 0.05) with each other in all three time
    Mean composite metal sample values using the weighting [1/3 x             periods (Table S3). At the home of Flint “Resident Zero”, there was a
(mean ﬁrst draw) þ 1/3 x (mean second draw) þ 1/3 (mean third                 similar correlation between all ﬁve of these plumbing related
draw)] were calculated in the ﬁve Virginia Tech and the ﬁve USEPA             metals during intensive water sampling in April 2015 (Pieper et al.,
sampling rounds to test co-occurrence of zinc, lead and copper.               2017), when this home pipe scale was clearly sloughing at high
Similar calculations could not be made for nickel and cadmium in              levelsdhence, the system wide correlation is a logical extension of
the Virginia Tech data because the mean release was below the                 what occurred in this one home.
detection limit.                                                                  Considering the ﬁve Virginia Tech citywide potable water
    A representative weighted average 90th percentile WLL                     sampling rounds, strong correlations were observed between the
(WLL90) was calculated, using a weighted average of 1/3 x (90th               mean composite measures of lead and copper (R2 ¼ 0.89, p < 0.05),
percentile ﬁrst draw lead), 1/3 x (90th percentile second draw lead)          and copper and zinc (R2 ¼ 0.83, p < 0.05) (Table S4). Similar trends
and 1/3 x (90th percentile third draw lead), to reﬂect importance of          were observed for all ﬁve rounds of USEPA data, with lead and
lead release from all three types of water in human exposure                  copper (R2 ¼ 0.93, p < 0.05), and copper and zinc (R2 ¼ 0.78,
(Sandvig et al., 2008) for each Virginia Tech sampling round. The             p < 0.05). Interestingly, there was no signiﬁcant co-occurrence
90th percentile has been the standardized reporting measure of                observed for these metals for a given draw in both datasets (i.e.,
WLL in the United States since the federal Lead and Copper Rule               ﬁrst, second or third draw), but only for the weighted composite
was adopted in 1991.                                                          result. This is expected given that the ﬁrst draw water is often
    For a comparison between the WLLs in Washington D.C                       derived from a pure copper pipe, whereas the second draw sample
1997e2006 and the FWC, a modiﬁed composite 90th percentile                    is often from a service line with pure lead or galvanized iron pipe
WLL (MWLL90) was calculated based on reported ﬁrst draw lead                  (i.e., ﬁrst draw has highest copper and relatively low lead, second
levels from our previous studies, because no third draw data and              draw has highest lead and almost no copper).
only one set of extensive second draw WLLs exists for Washington                  The monthly lead in biosolids was not correlated with monthly
D.C (Edwards et al., 2009; Edwards, 2013). Speciﬁcally, to charac-            average water temperature pre- and post-FWC (p > 0.05) as ex-
terize human exposure risk to water lead, we used a 50:50                     pected for systems dosed with orthophosphate for corrosion con-
weighting of measured 90th percentile ﬁrst draw and measured                  trol (Masters et al., 2016b), but they were moderately correlated
90th percentile second draw for the FWC, using a viable LCR sam-              during the FWC when orthophosphate was not dosed (R2 ¼ 0.30,
pling pool comprised of 50% homes with LSLs (17 homes with LSLs               p < 0.05) (Table S1). The water temperature of the shallow Flint
and 17 homes with lead solder/galvanized iron) back-calculated as             River water source versus Lake Huron, ﬂuctuated much more in
described in Pieper et al. (2018). For Washington D.C., we estimated          both summer and winter months during FWC compared to pre- or
the corresponding weighted 90th percentile water lead level (50:50            post-FWC (Fig. 1), producing a greater possible effect of tempera-
ﬁrst and second draw weighting), using our previously published               ture on metal release from plumbing (Deshommes et al., 2013;
90th percentile ﬁrst draw lead calculations, and an assumption that           Masters et al., 2016b).
the 90th percentile second draw lead was equal to 1.375  90th                    The tripling of orthophosphate dose to Lake Huron water (3 mg/L
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Fig. 1. Monthly cumulative lead (Pb) mass in biosolids, percent of children with elevated blood lead levels (% EBL5) (i.e., 5 mg/dL) and water temperature (upper) during May
2011eNovember 2017. The four months with peak %EBL5 during the FWC (circled in red) occurred in JulyeSeptember 2014 and August 2015. Representative data for a plumbing
related metal (Cd), also illustrates prominent spike immediately after the water switch to Flint River in April 2014 (lower). The light orange area represents the time span of the FWC.
(For interpretation of the references to colour in this ﬁgure legend, the reader is referred to the Web version of this article.)



total PO4) starting December 9, 2015 per USEPA recommendations                                 released from plumbing, such as lead in wastewater from all non-
decreased overall lead release from the distribution system to his-                            plumbing sources and 5% wastewater ﬂow from industry (Case,
toric lows post-FWC (2016e17; average lead in biosolids ¼ 6.9 kg/                              2018).
month) versus pre-FWC (2012e13; average ¼ 9.3 kg/month), sug-                                      Recent research made a rough estimate that ~18 g lead leached
gesting that the higher phosphate dosages caused lower lead release                            on average from each Flint LSL (Olson et al., 2017). Considering a
from the plumbing even after the interrupted corrosion control                                 recent rough estimate of 12,000 homes with LSLs in the City of Flint
during the FWC (two-tailed paired t-test; p < 0.05). This trend of                             (City of Flint, 2019), a total extra lead release of 216 kg from LSLs to
declining potable lead levels was conﬁrmed by third party inde-                                water would be predicted during the FWC. If the typical 87% of this
pendent sampling which revealed a 90th percentile ﬁrst draw WLL of                             lead release to water was captured in biosolids (Goldstone et al.,
4 mg/L in late January 2019 (Masten and Doudrick, 2019).                                       1990; Goldstone and Lester, 1991), the resulting prediction of
                                                                                               188 kg lead is of similar magnitude to the 184 kg cumulative lead
                                                                                               measured in biosolids during the FWC in this research.
3.2. Biosolids lead correlates strongly with citywide water lead
                                                                                                   In terms of possible confounding factors, the stormwater in Flint
measurements
                                                                                               is not discharged to sewers, reducing the likelihood that surface
                                                                                               water runoff or hydrant ﬂushing of water would inﬂuence the re-
    The WLL90 calculated from each round of citywide citizen sci-
                                                                                               sults (Busch, 2014; Emery, 2014; Fonger, 2014; Roy and Edwards,
ence sampling and the monthly lead in biosolids of the corre-
                                                                                               2015; Case, 2018). Moreover, hydrant ﬂushing uses water from
sponding month were strongly correlated (R2 ¼ 0.86, p < 0.05,
                                                                                               mains that has not contacted the building plumbing that contains
N ¼ 5; Fig. 2), supporting the hypothesis that biosolids lead reﬂects
                                                                                               the Zn, Cu, Pb, Cd and Ni metals, so any variation in ﬂushing water
citywide release of lead to water from plumbing. The modeled
                                                                                               from hydrants does not affect the release of these metals to
relationship [Biosolids-Pb (kg) ¼ 0.483 x WLL90 (mg/L) þ 1.79], has
                                                                                               drinking water or their mass in biosolids. Following the switch, the
an intercept of 1.79 kg, which might represent a portion of lead
                                                                                               total mass of biosolids (dry weight basis) produced in May to July
loading to the sewage plant per month independent of that
                                                                                               2014 (average ¼ 317 metric tons) was more than twice as high as
                                                                                               the biosolids produced the prior year (May 2013eApr, 2014;
                                                                                               average ¼ 140 metric tons), before eventually stabilizing to pre-
                                                                                               crisis levels after switching back to Lake Huron source water
                                                                                               (Fig. S2). As long as the unidentiﬁed source of these higher biosolids
                                                                                               did not contain a signiﬁcant mass of lead, the correlation between
                                                                                               lead mass in biosolids and the lead release to potable water would
                                                                                               still be valid, as appears to be the case for data presented herein.

                                                                                               3.3. Lead in biosolids and elevated blood lead

                                                                                                  Lead in water exposure is not typically considered to be a
                                                                                               dominant correlate to lead in blood (Triantafyllidou and Edwards,
                                                                                               2012), especially for the age group whose blood lead is routinely
Fig. 2. Monthly cumulative lead mass (kg) in biosolids was correlated with WLL90               monitored, when corrosion control is effective or the population is
from ﬁve rounds of water sampling campaigns (R2 ¼ 0.86, p < 0.05, N ¼ 5).                      protected against elevated lead in water. This expectation was
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veriﬁed by a lack of correlation between biosolids lead (reﬂecting
water lead exposure) and %EBL5 post-crisis (p > 0.05; Table S1).
During the 18 months pre- and during the FWC, there were only
very weak correlations between %EBL5 and biosolids lead (during
FWC, R2 ¼ 0.22; pre-FWC, R2 ¼ 0.12; p < 0.05).
    Overall, it appears that monthly lead mass in biosolids does
seem to track lead release from plumbing to potable water, but
biosolids lead is only slightly predictive of overall childhood
exposure for the age group of children whose blood lead is tested
and considered least sensitive to water exposure. Several decades
ago, it was predicted that the typical 2-year-old child obtained only
20% of their lead exposure from water on average, with the
remainder from food, dust and other sources (USEPA, 1988). The
fact that there are only slightly signiﬁcant correlations between
biosolids lead and %EBL5 for this age group both pre-FWC and
during the FWC, suggests that lead in water is not normally a
dominant source of exposure for this age group, even though other
                                                                                  Fig. 3. Mean cumulative lead mass in biosolids (kg/month) correlated with mean %
sources of lead exposure have been increasingly controlled since
                                                                                  EBL5 for four time intervals pre- and during FWC (R2 ¼ 0.99, p < 0.05). Error bars
1990 when the 20% blood lead from water estimate was made                         indicate 95% conﬁdence intervals for %EBL5. Due to water protective measures and a
(Triantafyllidou and Edwards, 2012; USEPA, 1988).                                 dramatic increase in EBL testing frequency by Federal Emergency Management Agency
    The overall downward trends of lead in biosolids and childhood                (FEMA), the post-FWC result is excluded from the regression.
lead exposure are generally consistent with those observed na-
tionally (Go mez et al., 2018; Hargreaves et al., 2018; Toffey, 2016;
                                                                                  sloughing from plumbing. In the 18 months post-FWC, the total
USEPA, 2009). Lead in biosolids was in a clear downtrend during
                                                                                  lead in biosolids dropped 30% (~55 kg) and mean %EBL5 was 3.00%
the pre-FWC time period from 12 kg/month (May 2011eOctober
                                                                                  (Fig. 3).
2012) to 9 kg/month (November 2012eApril 2014). This downtrend
                                                                                      After Virginia Tech's drinking water advisory in August 2015 and
is also reﬂected in decreasing mean %EBL5 from 4.71% to 2.76% in
                                                                                  then Hurley Medical Center's September 2015 press conference
Flint over the same time period similar to trends nationwide (CDC,
         mez et al., 2018).                                                      showed increased blood lead in Flint children, the water source was
2018; Go
                                                                                  switched back to Lake Huron water with corrosion control and
    There are only two major exceptions to the overall %EBL5 and
                                                                                  decisive public health interventions were implemented to protect
biosolids lead downtrend. The ﬁrst was pre-FWC in 2011, where an
                                                                                  the public from high WLLs (Hanna-Attisha et al., 2016; State of
unexplained peak in monthly biosolids lead correlated to a peak in
                                                                                  Michigan, 2016; Pieper et al., 2018). The lead in biosolids
%EBL5. Speciﬁcally, the average lead in biosolids for MayeOctober
                                                                                  decreased to 7.5 kg/month and mean %EBL5 decreased to 3.12% over
2011 of 18.7 kg/month corresponded to a very high mean %EBL5
                                                                                  the following year (November 2015eOctober 2016).
of 5.91% over that time period. Gomez and colleagues (2018)
                                                                                      With recovery of corrosion control in the distribution system
attributed the 2011 spike in %EBL5 to a “random variation,” but the
                                                                                  and implementation of enhanced corrosion inhibitor dosing
biosolids data indicate that lead in wastewater was also anoma-
                                                                                  (~3 mg/L as PO4 starting December 9 2015), the lead in biosolids
lously high in this April-May 2011 time period well before the FWC
                                                                                  and mean %EBL5 was further decreased to historical lows of 6.7 kg/
began in 2014. Looking more closely at the 2011 biosolids lead
                                                                                  month and 2.58% (November 2016eOctober 2017), respectively.
spike, we note that the lead levels were 115e185% above the Ni
                                                                                  Clearly, the public health interventions of bottled water and lead
trendline and 30e70% above the Cd trendline, and during this time
                                                                                  ﬁlters reduced %EBL5 incidence back to historical lows, and %EBL5
period lead was not correlated with other metals originating from
                                                                                  and biosolids lead were decoupled, even as WLLs remained above
premise plumbing corrosion (Fig. S3a). We speculate that this
                                                                                  federal standards through June 2016 as indicated by both the State
anomaly may have somehow been linked to treatment upsets or
                                                                                  of Michigan ofﬁcial data on residential/sentinel sampling and Vir-
other events during record Detroit rainfall, which was national
                                                                                  ginia Tech's citizen science water lead monitoring (MDEQ, 2018;
news in that exact time period (Bienkowski, 2013). Regardless, a
                                                                                  Pieper et al., 2018).
key point is that both biosolids lead and %EBL5 spiked higher in
2011 than at any other point reported in this research, including
during the FWC.                                                                   3.4. Contrast and comparison to other data
    The second exception occurred shortly after the source water
was switched to Flint River in April 2014. The total biosolids lead                   If it is assumed that the net biosolids lead minus the baseline
mass during 18-month intervals before, during FWC and after the                   1.79 kg of non-plumbing lead (Figs. 2 and S4) reﬂects the true trend
FWC were 161.5 kg, 184 kg, and 129 kg, respectively. Of the total                 in water lead release and exposure, a perspective is provided on the
23 kg (or ~14% overall increased mass) extra biosolids lead mass                  FWC that is remarkably consistent with most existing published
during versus pre-FWC, 76% came in JulyeSeptember of 2014                         research on WLL or using the %EBL5 proxies. After the switchback
versus JulyeSeptember 2013 (Fig. 3). A runs test for randomness                   in October 2015, the ofﬁcial lead in water data started meeting
analysis conﬁrms that this biosolids lead mass spike in 2014 was                  federal standards in late 2016, and the corresponding lead in bio-
not random (p < 0.05). The corresponding %EBL5 roughly doubled                    solids also declined back to levels considered normal at the start of
from 3.45% to 6.61% in those three months of 2014 versus 2013                     this decade (Fig. S5). Blood lead levels and water lead levels have
(p < 0.05), and this was also the only time period in which %EBL5                 also recently dropped to historic lows in Flint (Go   mez et al., 2018;
was statistically higher during the FWC than pre- or post-FWC                     MDEQ, 2018; Pieper et al., 2018; Go    mez et al., 2019; Masten and
(Fig. 3). This 2014 biosolids lead spike was also directly on the                 Doudrick, 2019; Lytle et al., 2019).
trendline for other biosolids metals derived from plumbing mate-                      These results also help address some speculation regarding
rials (e.g., Ni and Cu - Fig. S3b), reinforcing the belief that this spike        changes in childhood lead exposure in Flint. Speciﬁcally, the 2014
in biosolids lead (and associated spike in %EBL5) was due to scale                blood lead spike in Flint children did not likely originate from
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children having more contact with contaminated soil in summer
months as was recently speculated (Laidlaw et al., 2016), because
the high lead in biosolids co-occurred with release of lead from
premise plumbing. Thus, our data supports recent analyses by
Centers of Disease Control and Prevention (CDC) and others, that
also indicated soil was not a major contributor to this 2014 blood
lead spike based on independent reasoning (Kennedy, 2016; Sadler
et al., 2017). Moreover, speculation that a drop in blood lead
observed in the months of Apr-Sep 2014 to Sep 2014eSep 2015 is
due to “boil water advisories” that caused consumers to switch to
bottled water (Zahran et al., 2017), is not necessary because the
drop in %EBL5 is shown herein to reﬂect a drop in WLLs in that time
period.
   Finally, this analysis provides evidence that the public health
                                                                                Fig. 4. Calculated MWLL90 levels from Washington D.C. lead in drinking water crisis,
interventions of lead ﬁlters and bottled water were highly effective,           compared to estimated MWLL90 levels during the Flint, MI water crisis (FWC) as
severing any link between %EBL5 to lead in water and biosolids                  predicted from biosolids lead (this paper; Fig. 2) or that measured during ﬁve citizen
(p > 0.05, Table S1).                                                           science sampling rounds (method of Pieper et al., 2018). Washington D.C. data is yearly
                                                                                for 1997e2006 with t ¼ 0 being the year 2000, while predictions based on Flint bio-
                                                                                solids data is averaged over 4-month intervals (DeceMar, ApreJul, AugeNov) for Dec
3.5. Historical perspectives on the Flint Water Crisis
                                                                                2009eJul 2015 and t ¼ 0 represented by Apr-Jul 2014. Citizen science FWC sampling
                                                                                months were Aug 2015, Mar 2016, Jul 2016, Nov 2016, Jul 2017 at t ¼ þ1 to þ3 years).
   This analysis ﬁlls major knowledge gaps regarding the trajectory             For FWC, June 2014, is the only month where biosolids-predicted MWLL90 was in the
of the FWC in relation to lead in water and human exposure. In                  range of the D.C. crisis.
particular, the monthly lead in biosolids reached a peak of 24.5 kg
during the warmer months (MayeOctober) of the crisis in 2014, but
lead release steadily declined thereafter to less than half of that             of much longer duration (Edwards et al., 2009; Edwards, 2013; Roy
value (11.5 kg) for the same time period in 2015. Moreover, the                 and Edwards, 2019a). Speciﬁcally, the MWLL90 for the FWC,
average and maximum biosolids lead measurements during the                      without considering the outlier month of June 2014, ranged from
FWC in 2015 were comparable to those pre-FWC in summer 2012                     10.2 mg/L to 43.1 mg/L, whereas that for Washington D.C. 2001e04
and summer 2013, suggesting that WLLs throughout the city might                 were between 61.9 mg/L and 108.6 mg/L. This is expected, since the
have declined from the start of the FWC in summer 2014 as lead                  D.C. lead crisis elevated a signiﬁcant percentage of children's blood
was depleted and sloughed from scale (Olson et al., 2017). This                 lead above the 10 mg/dL CDC “level of concern” in force at that time,
analysis strongly suggests that the “worst” lead exposure during                whereas the FWC was manifested at the %EBL5 level and not at >
the FWC was restricted to JuneeAugust 2014 (captured in biosolids               10 mg/dL (Edwards et al., 2009; Edwards, 2013; Hanna-Attisha et al.,
                                                                                2016; Gomez et al., 2018). Future studies examining possible public
lead mass during JulyeSeptember 2014), as is further conﬁrmed by
the signiﬁcant elevation in %EBL5 associated with those months.                 health harm from lead and other metals released from the
The overall biosolids lead data directly contradicts prior speculation          plumbing during the FWC, should also carefully consider results
by ourselves and others, that water lead levels and associated ex-              indicating JuneeAugust 2014 was the time period of maximum
posures, progressively increased during the 18 months of the FWC.               water lead exposure.
   Our analysis can also help put the potential exposures occurring
during the FWC into context, versus routine USEPA 90th percentile               3.6. Innovative use of biosolids monitoring data as a cumulative
ﬁrst draw lead levels that are reported in other cities, and also in            measure of WLLs
comparison to the other major water lead contamination event of
this century in Washington D.C. 2001e2004 (Roy and Edwards,                         Urban sewage is being increasingly monitored to identify and
2019a). Virginia Tech's citywide sampling event in August 2015,                 map general public health trends from antibiotic resistance genes
did detect a very signiﬁcant lead contamination problem, with an                (ARGs), pharmaceutical and personal care products (PPCPs) and
estimated 90th percentile of 27 mg/L (ﬁrst draw) for a back-                    population-level traits like obesity and the human gut microbiome
calculated legitimate USEPA LCR monitoring event with 50% lead                  (Cai et al., 2014; Newton et al., 2015; Olofsson et al., 2012; Su et al.,
pipes (Pieper et al., 2018). If it is assumed that the 2.8X higher lead         2017; Wang and Wang, 2016). This study suggests that biosolids
in biosolids in June 2014 vis-a   -vis August 2015 is directly propor-         monitoring can provide important insights about overall trends in
tional to overall 90th percentile lead in water at that time [as sup-           lead release to water from plumbing, which is important given
ported by the strong correlation in other time periods; Biosolids-              rising worldwide concern about exposure to lead in drinking water,
Pb ¼ 0.37 x MWLL90 þ 1.41 (R2 ¼ 0.66; p < 0.05; one-sided t-test for            and the logistical and statistical problems of monitoring lead at
Pearson r)], it would suggest a 90th percentile lead ﬁrst draw in the           consumer taps (Roy and Edwards, 2019a).
range of 76.8e98.5 mg/L in the worst (outlier) month of the FWC                     Targeted sampling, random sampling, 3-D proﬁles and propor-
(June 2014) versus the EPA action level of 15 mg/L.                             tional sampling of drinking water in consumer homes – all have
   But ﬁrst draw lead is only one part of the human exposure                    acknowledged strengths and weaknesses, proponents and de-
picture. The 2001e2004 DC Lead crisis was noteworthy because                    tractors (Clark et al., 2014; Del Toral et al., 2013; Masters et al.,
second draw was often much higher than ﬁrst draw (Edwards and                   2016a; Pieper et al., 2017; Schock, 1990; Jarvis et al., 2018; Lytle
Dudi, 2004; Edwards et al., 2009; Edwards, 2013), whereas in Flint,             et al., 2019; Riblet et al., 2019), and, in some cases, a hundred
the opposite was true (Pieper et al., 2018). If a simple composite              household samples are required by regulation to calculate 90th
exposure is considered based on 50% ﬁrst draw and 50% second                    percentile lead and monitor effectiveness of corrosion control for
draw weighting (MWLL90), the 62.4 mg/L in the outlier month of                  just one month each year. If a single sample of sludge could be used
June 2014 of the FWC would be in the range of the water lead                    to track aggregate lead release and corrosion control effectiveness
observed in the 2001e2004 DC Lead Crisis (Fig. 4), but the DC ex-               every month, as seems to have been the case in this research, it
posures were much worse at all other times and the exposure was                 could improve understanding of seasonal trends and problems
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with semi-random particulate lead release plaguing at the tap                 relationships which may be considered as potential competing
analysis of LCR monitoring data.                                              interests:
   Speciﬁcally, biosolids lead monitoring may provide highly
complementary, if not some superior, insights to traditional ap-                  Aside from our work exposing the Flint water crisis, our data and
proaches that rely on direct monitoring of lead in drinking water at              testimony have been subpoenaed in several Flint water-related
consumer taps. This is an exciting prospect deserving of future                   lawsuits. We are not party to any of the lawsuits. Dr. Edwards
study that even seems obvious in retrospect given prior under-                    has been subpoenaed as a fact witness in many of the lawsuits,
standing. It is especially important considering the cost, logistical             but he has refused all ﬁnancial compensation for time spent on
problems of accessing sampling taps in home and buildings for                     those activities. Previously, Dr. Edwards served as an uncom-
compliance sample collection, and the hundreds (or even thou-                     pensated fact witness in lawsuits pertaining to Washington DC
sands) of samples that would be required to obtain statistically                  lead-in drinking water crisis, but these lawsuits have ended.
valid estimates of water lead regulatory goals (i.e., 90th percentile
lead in the U.S.) as indicated by prior research (Masters et al.,             Acknowledgements
2016a).
                                                                                 We gratefully acknowledge the help of Robert Case from the City
4. Conclusions                                                                of Flint (biosolids production), Jon Bloemker and George Krisztian
                                                                              from the Michigan Department of Environmental Quality
   Our novel approach shedding light on WLLs during the FWC                   (compiling and sharing metal in biosolids data), Dr. William Rhoads
based on routine biosolids analysis revealed that:                            of Virginia Tech (compiling water temperature data), Dr. Dan Gal-
                                                                              lagher of Virginia Tech (providing statistical advice on environ-
  Plumbing-related metals, including lead, were strongly corre-              mental sampling), and Dr. Mona Hanna-Attisha and her team at
   lated with one another in monthly sewage biosolids monitoring              Hurley Medical Center and Michigan State University (sharing
   data during 2011e17, especially during the FWC months of Apr               blood lead data).
   2014eOct 2015.                                                                This publication was partly funded and developed under Grant
  The plumbing related metals Cu, Zn and Pb were also correlated             No. 8399375 “Untapping the Crowd: Consumer Detection and
   with one another in calculated weighted averages of ﬁrst, sec-             Control of Lead in Drinking Water” awarded by the U.S. Environ-
   ond and third draw, in ﬁve rounds of Virginia Tech and USEPA               mental Protection Agency to Virginia Tech. It has not been formally
   drinking water monitoring data.                                            reviewed by EPA. The views expressed in this document are solely
  Biosolids lead strongly correlated with citywide WLLs in Vir-              those of the authors and do not necessarily reﬂect those of the
   ginia Tech's sampling from August 2015 to August 2017.                     Agency. EPA does not endorse any products or commercial services
  During the FWC, the increased biosolids lead mass (z23 kg) was             mentioned in this publication.
   just 14% higher than the comparable 18-month time period pre-
   FWC, but most (76%) of that increased mass was in the months               Appendix A. Supplementary data
   of JulyeSeptember 2014. During those three months %EBL5 was
   nearly doubled (p < 0.05) during FWC versus pre-FWC, but was                  Supplementary data to this article can be found online at
   not signiﬁcantly higher in the other months of the FWC.                    https://doi.org/10.1016/j.watres.2019.05.091.
  Biosolids lead was very weakly correlated with %EBL5 pre-FWC
   and during the FWC, and not at other time periods, consistent              References
   with the expectation that water lead exposure is not strongly
   correlated to blood lead.                                                  Alam, I.A., Sadiq, M., 1989. Metal contamination of drinking water from corrosion of
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   lead and %EBL5, consistent with public health protections of                   (AWWA), Water Environment Federation (WEF), 1998. Standard Methods for
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                                                                                  Association, American Water Works Association, & Water Environment Feder-
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                                                                                  ation, Washington, D.C.
   inantly associated with a large lead release that occurred during          Agency for Toxic Substances and Disease Registry (ATSDR), August 2007. Toxico-
   summer 2014, as evidenced by high lead in biosolids and %EBL5                  logical Proﬁle for Lead. Department of Health and Human Services, Atlanta, GA.
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  Biosolids lead monitoring may provide unique insights to                       Flint. Aug 13. The Detroit News. Available at: https://www.detroitnews.com/
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Declaration of interests                                                      Carmody, S., 2019. 5 Years after Flint's Crisis Began, Is the Water Safe? National
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   The authors declare the following ﬁnancial interests/personal              Case, R., 2018. Personal Communication with Robert Case, City of Flint WWTP
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                               Supplementary Information

   Lead Release to Potable Water during the Flint, Michigan Water Crisis as revealed

                        by Routine Biosolids Monitoring Data

                    Siddhartha Roy,1* Min Tang,1 and Marc Edwards,1

            1Department of Civil and Environmental Engineering, Virginia Tech


                            418 Durham Hall, 1145 Perry St.

                              Blacksburg, VA 24061, USA



              * Corresponding author, Siddhartha Roy, email sidroy@vt.edu
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   Figure S1. Monthly cumulative cadmium, nickel, copper and zinc mass in biosolids (kg)

   and water temperature during May 2011-November 2017. The orange area represents

   the FWC time span (April 2014-October 2015).
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   Figure S2. Total mass of biosolids (kilotons) produced at Flint’s Wastewater Treatment

   Plant March 2011 - Dec 2017. The highlighted time period reflects biosolids for the Flint

   Water Crisis months April 2014-Oct 2015.
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   Figure S3. Cumulative lead mass in biosolids was (a) temporarily uncorrelated with

   other cumulative mass of metals originating from plumbing corrosion in 2011 (pre-FWC)

   implying a lead spike from an alternative environmental lead source, but was (b) highly

   correlated in 2014 (during FWC) with plumbing metals indicating increased plumbing

   corrosion from Flint River water.
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   Figure S4. Trends of annual lead in biosolids (kg) from plumbing (i.e., obtained by

   subtracting 21.48 kg lead [or 1.79 kg lead/month x 12 months] from non-plumbing

   sources from total cumulative lead in biosolids) alongside corresponding annual %EBL5

   from this study and Gomez et al. (2018).
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   Figure S5. Average and maximum cumulative lead mass in biosolids (kg) per month in

   Flint. Error bars indicate 95% confidence interval.
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   Table S1. Hypothesized and actual correlations (Pearson’s) between lead in biosolids,

   temperature and % EBL5 pre-, during and post- FWC.


    Correlation               Hypothesized                        Actual

    between
                        Pre-    During   Post-
    monthly lead in                               Pre-FWC     During FWC      Post-FWC
                        FWC      FWC     FWC
    biosolids and

                                                     No            Yes            No
    monthly average
                         No       Yes     No      p=0.552        p=0.018        p=0.388
    temperature
                                                  R2=0.01       R2=0.301       R2=0.032

                                                     Yes           Yes            No

    monthly % EBL5       No       Yes     No      p=0.034        p=0.049        p=0.145

                                                  R2=0.123      R2=0.221        R2=0.09
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   Table S2. Time periods pertaining to the Flint Water Crisis analyzed in this study.


    Time period         Label   Rationale

    May 2011-           pre-    Flint buying treated Lake Huron water from Detroit since

    April 2014          FWC     1967; added corrosion control treatment (Pieper et al.

                                2017)

    May 2014-           during Water switch to highly corrosive Flint River on April 25,

    October 2015        FWC     2014 and interruption of corrosion control; switchback to

                                Detroit water on October 16, 2015 following public

                                revelations of high water lead and high blood lead

                                (Masten et al. 2016)

    November 2015-      post-   Provision of bottled water and filters, continued healing of

    November 2017       FWC     pipes being served Detroit water, boosted corrosion

                                control treatment (3X) starting December 9 2015 to

                                hasten formation of stable lead scale (Pieper et al. 2018)
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   Table S3. Pearson’s correlations between plumbing-related metals in biosolids pre-,

   during and post- FWC (p<0.05).


                            Pre                     During                   Post

                      (05-11 to 04-14)         (05-14 to 10-15)        (11-15 to 11-17)

                       R2           p          R2            p         R2           p



    Pb vs. Cd      0.588       5.02E-08    0.651        5.09E-05     0.799    1.67E-09

    Pb vs. Cu      0.473       9.33E-03    0.865        2.39E-08     0.694    2.33E-07

    Pb vs. Ni      0.286       7.64E-04    0.922        1.05E-09     0.421    1.98E-03

    Pb vs. Zn      0.669       6.25E-04    0.762        2.20E-06     0.733    4.91E-08

    Cd vs. Cu      0.805       3.29E-05    0.780        1.25E-06     0.797    2.00E-09

    Cd vs. Ni      0.300       5.36E-04    0.746        7.68E-06     0.506    4.43E-04

    Cd vs. Zn      0.762       9.86E-05    0.937        5.52E-11     0.837    1.63E-10

    Cu vs. Ni      0.817       2.23E-05    0.962        4.50E-12     0.724    2.01E-06

    Cu vs. Zn      0.937       6.10E-08    0.924        2.55E-10     0.908    1.93E-13

    Ni vs. Zn      0.780       6.46E-05    0.880        2.72E-08     0.573    1.11E-04
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   Table S4. Pearson’s correlations between plumbing-related metals in water during a)

   five Virginia Tech sampling rounds (Aug 2015, Mar 2016, Jul 2016, Nov 2016 and Aug

   2017) and b) five USEPA sequential sampling events in 23 homes (Jan-Mar 2016, May

   2016, Jul 2016, Sep 2016, and Nov 2016).


    Virginia Tech                 Pb vs. Cu           Pb vs. Zn           Cu vs. Zn
                                 R2        p         R2        p        R2         p
    First Draw Mean (FDM)        0.638    0.100      0.270    0.369     0.856     0.024
    Second Draw Mean
    (SDM)                        0.899     0.014     0.629     0.110    0.464     0.205
    Third Draw Mean (TDM)        0.000     0.975     0.023     0.409    0.209     0.439
    1/3 (FDM) + 1/3 x (SDM)
    + 1/3 (TDM)                  0.893     0.015     0.579     0.135    0.828     0.032

    USEPA                         Pb vs. Cu           Pb vs. Zn           Cu vs. Zn
                                 R2        p         R2        p        R2         p
    First Draw Mean (FDM)        0.536    0.160      0.280    0.359     0.780     0.047
    Second Draw Mean
    (SDM)                        0.843     0.073     0.576     0.136    0.947     0.005
    Third Draw Mean (TDM)        0.992     0.001     0.460     0.209    0.564     0.143
    1/3 (FDM) + 1/3 x (SDM)
    + 1/3 (TDM)                  0.925     0.009     0.540     0.157    0.783     0.046
Environmental
Case 5:16-cv-10444-JEL-EAS ECF No. 2809-4, PageID.92654 Filed 01/15/24 Page 45 of 65                                         EXHIBIT 3
Science
Water Research & Technology

  COMMUNICATION

                                         Efficacy of corrosion control and pipe
Cite this: Environ. Sci.: Water Res.
                                         replacement in reducing citywide lead exposure
Technol., 2020, 6, 3024                  during the Flint, MI water system recovery†
Received 19th June 2020,
Accepted 3rd August 2020                 Siddhartha Roy            * and Marc A. Edwards

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rsc.li/es-water

                                                                                     Water impact
Flint biosolids monitoring data demonstrate a sustained decline                      In the aftermath of the Flint, Michigan Water Crisis (FWC) and a new
                                                                                     proposed US Environmental Protection Agency (EPA) Lead and Copper
in total lead release to potable water from plumbing since the
                                                                                     Rule (LCR), the benefits of replacing lead service lines and implementing
2014–2015 Flint Water Crisis (FWC), due to enhanced corrosion
                                                                                     enhanced corrosion control to reduce water lead exposure are of high
control treatment (3 mg L−1 orthophosphate as PO4) and                               interest. Here we provide a novel analysis of routine Flint biosolids
removing of ∼80% of lead and galvanized iron service lines                           monitoring data, demonstrating a substantial 72–84% citywide reduction
through early 2020. The official 90th percentile water lead levels,                  in the mass of lead released to potable water vis-à-vis pre-FWC 2013 year.
                                                                                     Biosolids monitoring has certain advantages in tracking overall source
which have now met the federal Lead and Copper Rule threshold
                                                                                     reductions compared to traditional first draw sampling in a subset of
of 15 μg L−1 for the last four years, are in agreement with those
                                                                                     homes with lead service lines.
predicted by a previously established biosolids regression model.
There is also no longer a correlation between the percentage of
children under 6 years of age with blood lead ≥ 5 μg dL−1 and
biosolids lead mass in the 44 months post-FWC (Nov 2015–Jun                       the city to switch back to Lake Huron water in October 2015
2019), nor are there continued correlations between plumbing-                     and the orthophosphate dose was tripled in December
related metals in the biosolids, with the exception of Cu:Zn found                2015.2,5
in brass alloys that remain installed in homes. After Flint achieves                 A federal emergency was declared in January 2016, and
100% replacement of lead and galvanized service line pipes, a                     water lead levels (WLLs) have consistently measured below
biosolids data analysis predicts that the remaining sources of                    federal Lead and Copper Rule (LCR) standards since early
waterborne lead including leaded brass, lead solder and legacy                    2017.4–6,10 WLLs have even met the more rigorous
lead in pipe scale, will still release about 16–28% of the pre-FWC                provisionally adopted Michigan LCR standards since early
lead mass to potable water. The efficacy of enhanced corrosion                    2019.11,12 The officially reported WLL data is consistent with
control and replacement of service lines that contain lead is,                    second, third and even fourth party independent analyses of
therefore, on the order of 72–84% effective at reducing citywide                  lead in Flint water.4,13,14 The city has also replaced thousands
lead exposure, yet some significant water lead sources will still                 of leaded brass faucets, and 9516 service lines representing
remain even after pipe replacement is complete.                                   about ∼80% of the city's total lead and galvanized iron pipes
                                                                                  between March 2016 and March 2020.15–18 Officials were even
Introduction                                                                      having trouble finding enough homes with verified lead
                                                                                  service lines to successfully conduct the late 2019 LCR
When the City of Flint, Michigan switched water sources                           sampling event.19
from Lake Huron to the Flint River in April 2014 and stopped                         Many Flint residents still do not trust the safety of tap
adding orthophosphate corrosion control,1–3 higher levels of                      water for a variety of reasons, including:
lead, iron, chlorine decay, deaths from Legionnaire's disease                        1) Actual cheating on official water lead testing before the
and blood lead in children resulted.3–9 After the scope of the                    crisis was exposed by the authors of this paper late 2015, and
water lead problem became apparent, public outcry caused                          resulting betrayal of the public trust due to proven inaction,
                                                                                  apathy and/or cover-ups by local, state and federal
Virginia Tech, Civil and Environmental Engineering, 418 Durham Hall, 1145 Perry
Street, Blacksburg, VA 24061, USA. E-mail: sidroy@vt.edu; Tel: 1 540 521 6193
                                                                                  government agencies,5,20–22
† Electronic supplementary information (ESI) available. See DOI: 10.1039/            2) In post federal emergency Flint (2016–19), some
d0ew00583e                                                                        residents engaged in improper sampling, and in one case



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lead fishing sinkers were even discovered in a consumer's             improving Flint WLLs and decreasing childhood lead
plumbing, producing water samples with very high WLLs                 exposure, b) the combination of pipe and faucet
(>12 000 μg L−1) and suggestions of an ongoing health                 replacements, and corrosion control are reducing overall
threat,23                                                             release of lead to water, and c) replacing lead pipes will
    3) Social media postings and investigative reports, by a          greatly reduce (but not eliminate) lead release to drinking
“political reporter” from December 2016 to present, allege an         water due to remaining sources of lead from brass and solder
ongoing conspiracy by government agencies and independent             in consumers' homes.
lead sampling programs to cover-up water lead
problems,23–26                                                        Materials and methods
    4) Widespread misinformation on the effectiveness of
                                                                      Metals in biosolids
state-distributed lead filters,27 and speculation by academics
that the filters were causing Shigellosis or consumer                 Monthly metal concentrations in biosolids (lead, cadmium,
deaths,23,28–32                                                       copper, nickel and zinc; mg kg−1 on a dried weight basis)
    5) Warnings that vibrations and other disturbances arising        measured per Standard Method SW 6020A39 and total
during pipe replacements, might also be causing massive               monthly biosolids production (kg) for January 2018–June
release of lead from the Flint pipe network,33,34 and                 2019 were obtained from City of Flint's Water Pollution
unfounded assertions by some media, celebrities and                   Control Plant via Freedom of Information Act (FOIA)
politicians who continue to claim that Flint remains mired in         requests. The monthly mass of metal in biosolids was
a water lead crisis.32,35–37                                          calculated by multiplying the metal biosolids concentration
    We recently utilized data on the monthly lead mass                by the total biosolids production. Metal mass in biosolids
captured in sewage sludge (or, biosolids) at the Flint                data for prior years (2010–17) for comparison were sourced
wastewater treatment plant from 2010–17, to establish that            from another study.38
biosolids lead reliably tracked lead release from plumbing to
potable water before, during and in the immediate aftermath           Modeled relationship between biosolids lead and water lead
of the Flint Water Crisis.38 This biosolids data has important        levels
advantages compared to official WLL monitoring data
                                                                      A regression model between lead in biosolids and in water
collected under the LCR, including: 1) biosolids samples
                                                                      for the City of Flint (eqn (1)) was used to estimate water lead
represent a composite of all lead released to Flint's potable
                                                                      levels (WLLs) from obtained biosolids lead data.38
water over a several week time period, 2) the sampling
methodology and location have remained the same for over a
                                                                      Biosolids-Pb (kg per month) = 0.37 × WLL90 (μg L−1) + 1.41 (1)
decade, and 3) this data has been collected by entities who
are independent of those engaged in measuring water lead in
                                                                      where, biosolids-Pb = biosolids lead mass in kg; WLL90 =
homes.
                                                                      composite 90th percentile water lead level in μg L−1,
    In contrast, the official 90th percentile WLL only measures
                                                                      estimated as a 50 : 50 weighted average of “first draw” and
lead in the first liter from the tap (i.e., “first draw”), has used
                                                                      “second draw” WLLs.
first draw sampling protocols that have changed substantially
                                                                          The model assumes a one-month offset between biosolids-
in the last few years, is calculated from sampling pool of only
                                                                      Pb and WLL90 (i.e., biosolids-Pb measured in February 2018
60–200 “high risk” homes with lead pipe that has been
                                                                      is paired with WLL90 for January 2018) to account for a few
changing as lead service lines (LSLs) are replaced.4 The
                                                                      weeks of biosolids and activated sludge detention times. The
official 90th percentile data is therefore designed to
                                                                      model also relies on the assumption that 90th percentile first
infrequently (once every three years to twice a year) identify a
                                                                      draw lead ranges between 1.6 to 4.0 times the 90th percentile
characteristic level of water lead in “worst case” homes, and
                                                                      second draw lead in Flint, based on WLL data from five
does not reflect average or total lead release to water across
                                                                      Virginia Tech citywide water sampling rounds between 2015–
the entire city. Thus, analysis and monitoring of the lead
                                                                      17.38 This relationship was used to estimate a 90th percentile
mass in Flint biosolids is complementary, and in some ways
                                                                      first draw range from the biosolids-predicted WLL90 values
superior to traditional in home monitoring to track progress
                                                                      and compared against that calculated from official LCR
as the Flint system continues to heal from enhanced
                                                                      testing for six month periods for 2016–19.11 The only
corrosion control and LSLs are replaced.
                                                                      exception was 2019 where biosolids data corresponding to
    Herein, we apply our novel approach38 to the most recent
                                                                      first five month period of WLLs (Jan–May 2019) was
data on biosolids monitoring and elevated blood lead in
                                                                      available.
children (January 2018–June 2019), which reflects a time
period of unprecedented replacement of lead bearing (i.e.,
lead and galvanized iron) service line pipe replacements. The         Elevated blood lead levels
tested hypotheses included the following: a) the State of             The de-identified aggregated monthly data on percentage of
Michigan, the US Environmental Protection Agency, and                 children under six with elevated blood lead 5 μg dL−1 (i.e., %
others, are providing a false sense of progress in terms of           EBL5) during January 2018–June 2019, and from prior years



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(2010–17) for comparison, were obtained from Hurley                        Trends in plumbing metals captured in biosolids
Medical Center's Dr. Mona Hanna-Attisha40 and a previous
study38 respectively.                                                      Over 95% of treated wastewater in Flint is domestic in origin
                                                                           and most of the lead comes from corrosion of lead pipes and
Statistical analyses                                                       lead-bearing plumbing.41–43 The lead mass in biosolids has
All statistical analyses were conducted in Microsoft® Excel®               continued to drop in the last few years (Fig. 1A) and reached
(version 2016) and IBM® SPSS (version 25). A p value of                    another historic low in 2019. From January–June 2019,
<0.05 with an alpha value (α) of 0.05 was selected to                      average lead was 5 kg per month (range = 1.2–8.5 kg per
determine statistical significance. The coefficient of                     month), versus 10.2 kg per month (range = 5.2–24.5 kg per
determination (R 2) was calculated to examine the                          month) for the 18 months of FWC (April 2014–October 2015)
associations between monthly biosolids metal masses for Pb,                and 9.3 kg per month (range = 5.4–15.7 kg per month) for a
Cu and Zn.                                                                 comparable period pre-FWC (April 2012–October 2013).
                                                                              Biosolids masses for all five plumbing related metals (Cd,
Results and discussion                                                     Cu, Ni, Pb, and Zn) during 2018–2019 also dropped to
                                                                           between 35–76% of that measured during the FWC, due to
After examining trends on plumbing-related metals captured                 enhanced corrosion control, service line and lead faucet
in biosolids from January 2018–June 2019, we use the                       replacement (Fig. S1 in ESI†). While all three plumbing-
established regression model between biosolids and water                   related metals (Pb, Cu and Zn) in biosolids correlated before
lead in Flint to estimate WLLs 2018–19 for comparison to                   (2011–14), during (2014–15), and after the FWC (2015–17),38
reported (official and independent) 90th percentile WLLs. We               the only correlation that remained significant in this latest
then examine whether lead levels spiked or declined across                 period of enhanced corrosion control and plumbing material
the city, during implementation of Flint's unprecedented lead              replacement during 2018–19 was Cu vs. Zn (R 2 = 0.30; p <
and galvanized service line pipe replacement program, and                  0.05). Copper and zinc are both present in the new brass
attempt to quantify the benefits and limitations of service                alloy valves, faucets and fixtures that are still being installed
line replacement in reducing WLLs.                                         throughout the Flint water system. Correlations between Pb:




Fig. 1 (A) Box-and-whiskers plot of total monthly biosolids lead mass captured at the Flint wastewater plant, 2010–19. The open circles indicate
outlier lead mass values. The plot summarizes data for January–December for 2010–18 and January–June for 2019. Enhanced corrosion control
refers to tripling of orthophosphate corrosion inhibitor dose starting Dec 9, 2015. Lead pipe replacements began in March 2016 under the Flint
FAST start program. Faucet replacements began in January 2017 with funding from State of Michigan. (B) Composite 90th percentile water lead
levels (WLL90) for Flint, MI predicted by a regression model (eqn (1)). The WLL90 values are derived from biosolids lead mass averaged over 4 month
intervals (Dec–Mar, Apr–Jul, and Aug–Nov) for December 2009–March 2019. Error bars indicate the entire range of predicted WLL90 values (i.e.,
minimum and maximum). Future models prospectively applying our approach, should also consider including a sensitivity analysis and error
estimation, to further increase the statistical accuracy of the estimated WLL90 range.



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Cu or Pb:Zn were no longer statistically significant ( p > 0.05)            period when high lead content solder and brass was
(Table S1†).                                                                commonplace.44,46,47
   All of the above is consistent with expectations based on                   To further highlight the importance of this issue, Flint
the ongoing removal of lead pipes and the effectiveness of                  resident X, who participated in five sampling rounds with the
improved corrosion control.18,38,44 Enhanced corrosion                      authors of this paper between August 2015–August 2017, had
control has also essentially “decoupled” metal release from                 the highest WLL (1051 μg L−1) in the August 2015 pool of 269
most of the different alloys that comprise the Flint water                  homes during the height of the water crisis.4 We did a special
distribution system, including lead pipe, galvanized iron                   investigation of this home, by paying to replace its entire
pipe, copper pipe, lead solder and brass (i.e., copper, zinc,               home plumbing system except for the last few inches of pipe
and lead).                                                                  before the kitchen faucet, and we also examined the entire
                                                                            service line replaced by the city on the same day (March 9,
Declining lead levels in Flint's potable water                              2016).48 To our surprise, this worst case home did not have
                                                                            any pure lead or galvanized iron pipe—it had only lead solder
Using the lead in biosolids data, the predicted composite
                                                                            and leaded brass. Sampling in four subsequent rounds
WLL90 dropped below 10 ppb in 2019 for the first time in a
                                                                            determined Resident X's flushed sample WLLs to be
decade, and was about 90% lower than that seen in the worst
                                                                            consistently below 10 μg L−1, whereas first draw WLL (Fig. 3)
year pre-FWC (2011) and 83% lower than during the FWC
                                                                            originating from the very short section of indoor plumbing
(2014) (Fig. 1B). Morever, the official 90th percentile first
                                                                            continued to be as high as 230 ppb.4
draw WLLs for samples collected under the federal LCR, are
                                                                               Analysis of random tap samples that the authors of this
in or within 1 ppb of the predicted WLL90 range, based on
                                                                            paper analyzed from 138 Flint homes (Pieper et al., 2018) in
the calibration using data collected from July 2016–June 2019
                                                                            July 2016 before any lead or galvanized iron service line
(Fig. 2). For instance, the official 90th percentile first draw
                                                                            replacement, and again in August 2017 when ∼30% (i.e.,
WLL for July–December 2018 of 4 μg L−1 and the independent
                                                                            3624 homes) of service pipes were replaced, indicate that
result of 4 μg L−1 from third-party testing led by Michigan
                                                                            mean WLLs had dropped by just 6% at that time (Table
State University,14 is at lower range of 4–8 μg L−1 predicted by
                                                                            S2†).4 This raises the question, as to how effective the lead
the model. This finding indicates that the conventional
                                                                            pipe and galvanized iron service line replacement program
biosolids lead sampling is sometimes consistent with much
                                                                            will be, in terms of reducing the mass of total lead released
more complicated first draw LCR sampling events in high
                                                                            to water across the city.
risk homes with lead pipe.
                                                                               Assuming that the total lead in biosolids is a summation
    The consistently decreasing water lead trends in Fig. 1
                                                                            of lead release from lead bearing service line pipes (lead and
and 2, also demonstrate that concerns about WLL spikes
                                                                            galvanized), indoor plumbing (e.g., brass, solder, and lead
following lead pipe replacements, did not overwhelm overall
                                                                            coated onto indoor pipes from service lines), and non-
benefits from enhanced corrosion control and replacements
                                                                            plumbing sources, the biosolids lead can be described:
of faucets, galvanized steel pipes and lead pipes.
                                                                                    Biosolids‐Pb = (% services remaining) × Pbservices
Flint is about to enter a post-lead pipe era                                                       + Pbindoor + Pbother                          (2)
The complete removal of LSLs will not eliminate lead release
to drinking water. Lead solder, leaded brass, and premise                      Lead from other non-plumbing sources (i.e., Pbother) was
plumbing that was “seeded” or coated with lead from LSLs in                 estimated as 1.41–1.79 kg per month in our prior analysis.38
the preceding decades remain as significant lead sources.                   We then solved for the remaining variables of lead from
Roughly 95% of Flint homes were built in the pre-1986 time                  service pipes (or, Pbservices) and indoor plumbing (or, Pbindoor)




Fig. 2 Comparison in post-federal emergency Flint of 90th percentile first draw lead from official Lead and Copper Rule (LCR) sampling11 against
that predicted by the biosolids model (this paper), independent sampling led by Michigan State University or MSU,14 and the new Michigan LCR that
uses the highest WLLs of either first or fifth draw.45 The 90th percentile first draw water lead “range” was calculated from the biosolids-predicted
WLL90 using the first-draw-to-second-draw ratio of 1.6 (minimum) to 4.0 (maximum) observed in five water sampling rounds 2015–17.



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Fig. 3 Water lead levels (first draw, second draw, and third draw) in five sampling rounds during 2015–17 for resident X, who had a copper service
line that was removed and replaced with a new copper pipe on March 9, 2016.




in eqn (2), during comparable periods of treated Lake Huron                Conclusions
water as Flint's water source and stable phosphate corrosion
control, for the years 2013, 2017 and 2018 when the                        This research supports the following conclusions about the
percentage of service pipes in Flint's distribution system were            City of Flint's recovery from high water lead levels that was
100%, 48%, and 34%, respectively (Fig. S3†) (see Text S1† for              first revealed through the collaborative work by the authors
full solution). Projecting results to late 2020 when Flint will            of this paper and Flint residents in August 2015:4
have replaced 100% of its lead and galvanized service pipes                    • Lead in biosolids reached a historical low in 2019, due
(i.e., 0% of leaded service pipes remain), we calculate that               to enhanced corrosion control and replacement of 80% of
that remaining sources of lead to water (i.e., leaded brass,               the lead and galvanized iron service pipes in Flint.
lead solder and also legacy lead in pipe scale) will still release             • Estimated composite water lead levels (i.e., equally
about 16–28% of the 2013 pre-water crisis lead mass (Text                  weighted first draw and second draw or service line WLLs) in
S1:† Tables I [row G] and II [row G]) as expected.13,46,49,50 The          2019 have dropped 90% and 83% from worst levels seen before
characteristic composite WLL due to remaining lead in                      (2011) and during the Flint Water Crisis (2014), respectively.
plumbing would be 5.3–7.4 μg L−1 (Text S1:† Table I [row H]).                  • Official LCR 90th percentile first draw WLLs and
While this is a 67–77% improvement from pre-FWC 2013 year                  independent WLLs, in 2016–19, were in good agreement with
and an 82–87% reduction from the height of the FWC (Text                   those predicted using a previously calibrated regression
S1:† Table I [row J]), it illustrates that the post-lead pipe era          model relying on independent biosolids lead.
will not result in completely lead free drinking water.                        • The mean percentage of children ≤6yo with elevated
                                                                           blood lead (% EBL5) in the latest months (May 2017–Jun
                                                                           2019) is at a historic low, and is 63% lower than that
Historically low incidence of elevated blood lead in children              observed during the height of the FWC in summer 2014.
In terms of childhood lead exposure in Flint, the mean %                       • There is no correlation between % EBL5 and biosolids
EBL5 levels for post-FWC months 1–18 (Nov 2015–Apr 2017)                   lead mass in the 44 months post-FWC (Nov 2015–Jun 2019),
and months 19–44 (May 2017–Jun 2019), respectively dropped                 supporting the reasonable expectation of low consumer water
55% and 63% below that seen in summer 2014 (Fig. S2†).                     lead exposure during this time of bottled water and lead filters.
There was no longer a relationship between biosolids lead                      • The biosolids data support official data, that lead levels in
and % EBL5, in the any post-FWC period ( p > 0.05), as                     Flint water are dropping, and do not support unfounded
would be expected due to near elimination of exposure to                   assertions that Flint water still has “crisis” levels of lead in water.
waterborne lead from widespread use of bottled water and                       • As Flint approaches 100% lead pipe elimination,
filters.38,51,52                                                           building plumbing (i.e., brass and solder) sources of water
    A general survey of Flint residents (n = 1913) in December             lead will become dominant, and are estimated to represent
2017 confirmed they were following recommendations of                      16–28% of the lead released to water in 2013 when all lead
public health agencies to not drink unfiltered tap water, as               sources including service lines were present. The post-lead
96% of respondents were using bottled water for cooking,                   pipe era in Flint (or anywhere in America) will not result in
91.2% were even using it to brushing their teeth and 58.7%                 lead free drinking water.
were even using it for bathing.53 However, there has been a
drop in overall household stress and fear regarding drinking,              Conflicts of interest
cooking, bathing, and brushing teeth with unfiltered tap
water.54 Overall, the analysis strongly supports continued                 Aside from our work with Flint residents exposing the water
reductions in release of lead to water in post-federal                     crisis in the first place, our data and testimony have been
emergency Flint, Michigan.                                                 subpoenaed in several Flint water-related lawsuits. We are



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                                                                                                                                   replacement in reducing citywide lead exposure
                                                                                                                                   during the Flint, MI water system recovery
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                                                                                                                                   Addendum for ‘Efficacy of corrosion control and pipe replacement in reducing citywide lead exposure dur-
                                                                                                                                   ing the Flint, MI water system recovery’ by Siddhartha Roy and Marc Edwards, Environ. Sci.: Water Res.
                                                                                                rsc.li/es-water                    Technol., 2020, 6, 3024–3031, DOI: 10.1039/D0EW00583E

                                                                                                In the references section, references 21, 25 and 42 should be corrected as follows:
                                                                                                    21. M. A. Edwards, Institutional scientific misconduct at U.S. Public health agencies: how malevolent government betrayed
                                                                                                Flint, MI. Testimony to the U.S. Cong. Committee on oversight and government reform on examining federal administration of
                                                                                                the safe drinking water act in Flint, Michigan hearing, 112th Congress 2nd session, 2016, https://oversight.house.gov/sites/
                                                                                                democrats.oversight.house.gov/files/documents/Edwards-VA%20Tech%20Statement%202-3%20Flint%20Water.pdf                        (accessed
                                                                                                May 2021)
                                                                                                    25. Status Coup, Here's the REAL National Emergency: Flint Still Without Clean Water 5 Years Later, YouTube, https://youtu.
                                                                                                be/6o-RU4GBO1g (accessed May 2021)
                                                                                                    42. Mid-Atlantic Biosolids Association Biosolids in Flint, 2020, https://drive.google.com/file/d/
                                                                                                0BzlwwqZwAlz8bWVZRWZXb0psZnc/view (accessed May 2021)
                                                                                                    The section beginning “Many Flint residents…” in the Introduction of this article should read as follows:
                                                                                                    Many Flint residents still do not trust the safety of tap water for a variety of reasons, including:
                                                                                                    1) Misreported official water lead testing before the crisis was exposed by the authors of this paper in late 2015, and
                                                                                                resulting public mistrust of local, state and federal government agencies,5,20–22
                                                                                                    2) In post federal emergency Flint (2016–19), some residents engaged in improper sampling, and in one case lead fishing
                                                                                                sinkers were discovered in a consumer's plumbing, producing water samples with very high WLLs (>12 000 μg L−1) and sugges-
                                                                                                tions of an ongoing health threat,23
                                                                                                    3) Social media posts and investigative reports, by a “political reporter”24 from December 2016 to present, allege an ongoing
                                                                                                conspiracy by government agencies and independent lead sampling programs to cover-up water lead problems,23–26
                                                                                                    4) Widespread misinformation on the effectiveness of state-distributed lead filters,27 and speculation by academics that the
                                                                                                filters were causing Shigellosis23 or consumer deaths,28–32
                                                                                                    5) Warnings that vibrations and other disturbances arising during pipe replacements, might also be causing massive release
                                                                                                of lead from the Flint pipe network,33,34 and unfounded assertions by some media, celebrities and politicians who continue to
                                                                                                claim that Flint remains mired in a water lead crisis.32,35–37
                                                                                                    We recently utilized data on the monthly lead mass captured in sewage sludge (or biosolids) at the Flint wastewater treat-
                                                                                                ment plant from 2010–17, to establish that biosolids lead reliably tracked lead release from plumbing to potable water before,
                                                                                                during and in the immediate aftermath of the Flint Water Crisis.38 This biosolids data has important advantages compared to
                                                                                                official WLL monitoring data collected under the LCR, including: 1) biosolids samples represent a composite of all lead re-
                                                                                                leased to Flint's potable water over a time period of several weeks, 2) the sampling methodology and location have remained
                                                                                                the same for over a decade, and 3) this data has been collected by entities who are independent of those engaged in measuring
                                                                                                water lead in homes.
                                                                                                    In contrast, the official 90th percentile WLL only measures lead in the first litre from the tap (i.e., “first draw”). This sam-
                                                                                                pling protocol has changed substantially in the last few years, and is calculated from a sampling pool of only 60–200 “high
                                                                                                risk” homes with lead pipe that has been changing as lead service lines (LSLs) are replaced.4 The official 90th percentile data
                                                                                                is therefore designed to infrequently (once every three years to twice a year) identify a characteristic level of water lead in “worst
                                                                                                case” homes, and does not reflect average or total lead release to water across the entire city. Thus, analysis and monitoring of
                                                                                                the lead mass in Flint biosolids is complementary, and in some ways superior to traditional in home monitoring to track prog-
                                                                                                ress as the Flint system continues to heal through enhanced corrosion control, and LSLs are replaced.




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                                                                                                Correction                                                          Environmental Science: Water Research & Technology

                                                                                                   Herein, we apply our novel approach38 to the most recent data on biosolids monitoring and elevated blood lead in children
                                                                                                (January 2018–June 2019), which reflects a time period of unprecedented replacement of lead bearing (i.e., lead and galvanized
                                                                                                iron) service line pipe replacements. The tested hypotheses included the following: a) the State of Michigan, the US Environ-
                                                                                                mental Protection Agency, and others, are providing an inaccurate sense of progress in terms of improving Flint WLLs and de-
                                                                                                creasing childhood lead exposure, b) the combination of pipe and faucet replacements, and corrosion control are reducing
                                                                                                overall release of lead to water, and c) replacing lead pipes will greatly reduce (but not eliminate) lead release to drinking water
                                                                                                due to remaining sources of lead from brass and solder in consumers' homes.
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                                                                                                Environ. Sci.: Water Res. Technol.                                                This journal is © The Royal Society of Chemistry 2021
Electronic Supplementary Material (ESI) for Environmental Science: Water Research & Technology.
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                                       ECF No. 2809-4,




       1                          Electronic Supplementary Information

       2   Efficacy of Corrosion Control and Pipe Replacement in Reducing Citywide Lead

       3                Exposure during the Flint, MI Water System Recovery

       4

       5                         Siddhartha Roy,1* and Marc Edwards,1

       6            1Department of Civil and Environmental Engineering, Virginia Tech


       7                            418 Durham Hall, 1145 Perry St.

       8                              Blacksburg, VA 24061, USA

       9

      10              * Corresponding author, Siddhartha Roy, email sidroy@vt.edu

      11

      12
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13 Text S1. Estimating percentage of biosolids lead that will continue to be released from

14 indoor plumbing (16-28%) and composite 90th percentile water lead levels (or, WLL90)

15 (5.3-7.4 μg/L) after Flint replaces all lead and galvanized service lines by late 2020.

16                 Equation 1: Biosolids-Pb = (% services remaining) x Pbservices + Pbindoor +

17                 Pbother

18         A. We use the following equation from Roy et al., 2019 that relies on composite

19         water lead levels from first and second draws:1

20                 Equation 2: Biosolids-Pb (kg) = 0.37 x WLL90 (μg/L) + 1.41, where

21                      WLL90 = ½ x first draw + ½ second draw (Equation 2A)

            Var.   Year                                2013          2017          2018
            A      Total Biosolids-Pb (kg)             117.7         77.6          72.9
            B      % services remaining                100%          48%           34%
                      Solving Equation 1 for both 2017 and 2018 against 2013 data
            C      Pbservices (kg)                          --          77.1         67.9
            D      Pbindoor + Pbother (kg)                  --          40.6         49.8
            E      Pbother (kg) for full year = 1.41 x 12 = 16.9 kg (from Equation 2)
            F      Pbindoor (kg) = D – E                    --          23.7         32.9
            G      Percentage of Biosolids-Pb               --         20.1%        28.0%
                   from plumbing = Pbindoor ∕
                   Total Biosolids-Pb or (F ∕ A)
                      Assuming Flint replaces all service lines by end of 2020, % of
                       pipes in system = 0%.
                      Therefore, Total Biosolids-Pb = Pbindoor + Pbother (Equation 3)
                      Dividing Equation 3 by 12 months to get Biosolids-Pb/month,
                       substituting Equation 3 in Equation 1: Pbplumbing+other = 0.37 x
                       WLL90 + 1.41, and solving for WLL90.
            H      WLL90 (μg/L)                          --          5.3           7.4
            I      Percentage WLL90 reduction            --         86.9%         81.7%
                   against worst 3 FWC months
                   (40.5 μg/L)
            J      Percentage WLL90 reduction            --         76.7%         67.4%
                   against pre-FWC year of
                   2013 (22.7 μg/L)
22         II. We also use the following equation from Roy et al., 2019 that relies on

23         composite water lead levels from first, second, and third draws:1
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24                Equation 4: Biosolids-Pb (kg/month) = 0.483 x WLL90 (μg/L) + 1.79,

25                    where WLL90 = 1/3 x first draw + 1/3 second draw + 1/3 third draw

26                    (Equation 4A)

           Var.   Year                                2013         2017          2018
           A      Total Biosolids-Pb (kg)             117.7        77.6          72.9
           B      % services remaining                100%         48%           34%
                     Solving Equation 2 for both 2017 and 2018 against 2013 data
           C      Pbservices (kg)                         --          77.1         67.9
           D      Pbindoor + Pbother (kg)                 --          40.6         49.8
           E      Pbother (kg) for full year = 1.79 x 12 = 21.5 kg (from Equation 2)
           F      Pbindoor (kg) = D – E                   --          19.1         28.3
           G      Percentage of Biosolids-Pb              --         16.2%        24.1%
                  from plumbing = Pbindoor ∕
                  Total Biosolids-Pb or (F ∕ A)
27

28 Text S1 References:

29    1. S. Roy, S., M. Tang and M. A. Edwards, Lead release to potable water during the

30       Flint, Michigan water crisis as revealed by routine biosolids monitoring data,

31       Water Res., 2019, 160, 475-483.

32
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33
34 Figure S1. Monthly cumulative lead, cadmium, nickel, copper and zinc mass in

35 biosolids (kg) during Jan 2010-Jun 2019. The red and green highlighted areas denotes

36 biosolids metal levels during the 18 months of the Flint Water Crisis (April 2014-October

37 2015) and the most recent 18 month time period for which data is available (January

38 2018-June 2019).
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39
40 Figure S2. The latest post-FWC results of mean cumulative lead mass in biosolids

41 (kg/month) and mean %EBL5 for May 2017-Jun 2019 (highlighted) are overlaid on the

42 grayscale graph from Roy et al. 2019 described thus: Mean cumulative lead mass in

43 biosolids (kg/month) correlated with mean %EBL5 for four time intervals pre- and during

44 FWC (R2 = 0.99, p < 0.05). Error bars indicate 95% confidence intervals for %EBL5. Due

45 to water protective measures and a dramatic increase in EBL testing frequency by

46 Federal Emergency Management Agency (FEMA), the post-FWC result is excluded

47 from the regression.
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48

49 Figure S3. Total number and percentage of lead and galvanized iron service lines

50 replaced in the City of Flint, 2016-19 (Data courtesy: Eric Schwartz [University of

51 Michigan, Ann Arbor] and Jared Webb [BlueConduit]).
Case 5:16-cv-10444-JEL-EAS ECF No. 2809-4, PageID.92670 Filed 01/15/24 Page 61 of 65




52 Table S1. Coefficient of determination (R2) between plumbing-related metals mass

53 measured in biosolids for January 2018-June 2019.

                                Metals       R2        p-value
                              Pb vs. Cu    0.01957   0.5798
                              Pb vs. Zn    0.007     0.7348
                              Cu vs. Zn    0.3033    0.0178
54
Case 5:16-cv-10444-JEL-EAS ECF No. 2809-4, PageID.92671 Filed 01/15/24 Page 62 of 65




55 Table S2. Reductions in mean WLLs between the July 2016 and August 2017 water

56 sampling rounds in Flint homes (n=138) with enhanced corrosion control when

57 approximately 30% (3,624) of lead and galvanized iron pipes had been replaced.

                    Sample \ Test Round     July    August     % WLL
                                            2016     2017     reduction
                    First Draw               9.6       9         5.8%
                    Second Draw              3.0      2.1       30.1%
                    Third Draw               2.4      1.8       23.7%
                    Composite WLL =          6.3      5.6       12.0%
                    ½ x first draw +
                    ½ x second draw
58
59                                           …
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                                                                                   EXHIBIT 4


   Opinion: From Sewage Sludge, a New
   Perspective on the Flint Water Crisis
   The 2014 lead crisis was troubling. But the science now suggests that other cities — and
   even Flint — have seen worse.

   By Siddhartha Roy and Marc Edwards 09.17.2020
   Link: https://undark.org/2020/09/17/flint-water-crisis-sewage/

   Sometime in 2021, a much-anticipated era of lead-free pipes will begin in Flint, Michigan.
   Contractors have replaced more than 90 percent of the city’s pure lead and galvanized-iron pipes
   connecting homes to the water mains, and they are hard at work inspecting and replacing the
   roughly 2,500 that remain. Flint will likely become only the third major American city — after
   Lansing, Michigan and Madison, Wisconsin — to have replaced all its lead pipes. They are also
   the first to replace all the galvanized iron connections, another source of lead, and to pay for all
   the work without charging customers. Blood testing and residential water testing suggest that the
   lead levels in Flint water are now at historic lows.

   The improvements mark an end to Flint’s disastrous history with lead pipes, which resurfaced in
   April 2014 when the city switched the source of its public water from Lake Huron treated by the
   city of Detroit to the Flint River, while discontinuing the use of corrosion control chemicals. The
   switch triggered an alarming rise in lead levels in the city’s drinking water, a corresponding
   spike in children’s blood lead levels, and a national scandal that led the city to switch back to
   water from Detroit in October 2015 while more than tripling the corrosion control dose.
   Ultimately, after revelations of deaths from two outbreaks of Legionnaire’s disease caused by the
   initial switch, a federal emergency was declared by President Obama in January 2016.

   Our early studies of lead levels in Flint residences helped expose the water crisis. Now, in
   complementary studies published in Water Research and Environmental Science: Water
   Research and Technology, we’ve found that lead levels in the water were not as bad as first
   feared: Water lead levels did increase sharply during the first few months of the water crisis, but
   for most of the time the city was receiving its water from the Flint River, the average levels of
   lead in drinking water were indistinguishable from those before the switch. In fact, our research
   shows that the Flint water crisis wasn’t even the city’s worst lead exposure event of that decade.

   The conclusions are based on data collected from the routine monitoring of the city’s sewage
   sludge, or biosolids. Well before taking samples at sewage plants became a popular way to track
   the surge of the novel coronavirus, scientists actively analyzed sewage to monitor aspects of
   public health, including viral disease markers, illicit drug consumption patterns, and human gut
   microbiome shifts. In Flint, officials have been sampling biosolids monthly for over 25 years.
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   We showed that lead levels in the biosolids were strongly correlated with lead levels from our
   citywide sampling of Flint’s drinking water, which allowed us to use the biosolid measurements
   to estimate average lead levels in the city’s drinking water over the period from 2010 to 2019.
   Due to consistency in the sampling methodology and the capture of all lead released from
   plumbing, the biosolids measurements in Flint’s case provide a much more reliable picture of
   citywide water lead levels than the residential water tests, which were both infrequent and used
   questionable methods.

   Water Lead Levels in Flint, Michigan




   Water lead levels estimated from biosolids samples. The red line indicates mean 90th percentile
   water lead levels, averaged over four months. The highlighted range captures the minimum and
   maximum water lead levels over each averaging period.
   Visual: Siddhartha Roy and Marc Edwards

   We found that more than three quarters of the above-normal lead exposure during the water
   crisis occurred during June, July, and August of 2014. Contrary to speculation at the time, lead
   exposures during the rest of the 14-month crisis were in the same range as occurred before the
   switch. There was likely an initial spike of lead rust sloughing off pipe walls due to the
   discontinuation of corrosion inhibitors for the more corrosive Flint River water, which slowed
   down a few months into the crisis. This surprising trend is also confirmed in the blood lead data
   for Flint children.

   Only during one month of Flint’s water crisis, June 2014, did lead levels rise to a range
   comparable to those experienced during the country’s worst water lead crisis of the 21st century.
   Between 2000 and 2004 in Washington D.C., the fraction of the infant population with lead
   levels above 10 µg/dL (that is, 10 micrograms per deciliter of blood), which was the Centers for
   Disease Control and Prevention’s “level of concern” at the time, spiked to more than 5 percent.
   In Flint, the fraction of children with blood lead levels exceeding 10 µg/dL did not increase at
   all, although the fraction with blood lead levels exceeding 5 µg/dL, a new threshold instituted by
   the CDC in 2012, did rise significantly.
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   Interestingly, our work suggests that just four years before Flint’s water made national headlines,
   the city suffered an even worse lead exposure event. We uncovered evidence of a previously
   undisclosed spike in water lead levels in mid-2011, when Flint was still receiving water from
   Detroit. That year, lead levels were estimated to have risen 50 percent higher than during the
   peak of the crisis following the switch to Flint River water. There is no obvious explanation for
   this increase, yet it mirrors a previously unexplained rise in children’s blood lead, which was
   attributed to “random variation.” This worrisome discovery reinforces the ever-present hazard of
   antiquated plumbing containing lead, even when corrosion control is in place and a water system
   is presumably operating normally, and, ultimately, to the importance of lead pipe replacements to
   eliminate the threat.

             Our work suggests that just four years before Flint’s water made national headlines,
                           the city suffered an even worse lead exposure event.

   The sewage data also confirms other studies that have shown dramatic improvements in Flint
   water’s lead levels. Biosolids tracking suggests that the protective measures taken after Flint
   switched back to Detroit water — including tripling the dosage of corrosion control additives and
   free replacement of lead faucets and all lead and galvanized pipe connections to water mains —
   will ultimately reduce lead levels by between 72 percent and 84 percent of the pre-crisis levels.

   Still, those measures will not translate to lead-free water, since our work demonstrates that brass
   faucets, lead solder, and galvanized iron that remain in Flint homes will continue to leach lead —
   as they do in homes all over the country. Even brand new “lead-free” plumbing cannot always
   guarantee water lead levels below the American Academy of Pediatrics’ new recommendation of
   1 part per billion for water in schools. Those facts should not detract attention from the major
   improvements in Flint’s water, which has already been meeting all state and federal standards for
   contaminant levels over the past four years.

   Regrettably, the legitimate fears of residents, compounded by misinformation, bad science, and
   conspiracy theories that have proliferated in the “scientific dark age” of post-water-crisis Flint,
   have continued to undermine public trust in the water and overshadow the successes of the
   government-led public health response.

   As residents continue to wait for elusive justice for the environmental crimes in Flint and
   cautiously consider a historic $600 million settlement from the state of Michigan, we
   acknowledge that the lead exposures during the Flint water crisis were not as bad as first feared.



   Siddhartha Roy is a postdoctoral researcher and Marc Edwards is a University Distinguished
   Professor, both at Virginia Tech. The authors’ research team helped expose the lead and
   Legionella contamination problems in Flint’s water during 2015.


                                                      …
